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        EXHIBIT A




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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

                                              §     CIVIL ACTION 6:20-CV-00571-ADA
WSOU INVESTMENTS, LLC d/b/a,                  §     CIVIL ACTION 6:20-CV-00572-ADA
BRAZOS LICENSING AND                          §     CIVIL ACTION 6:20-CV-00573-ADA
DEVELOPMENT                                   §     CIVIL ACTION 6:20-CV-00575-ADA
                                              §     CIVIL ACTION 6:20-CV-00576-ADA
       Plaintiff,                             §     CIVIL ACTION 6:20-CV-00579-ADA
v.                                            §     CIVIL ACTION 6:20-CV-00580-ADA
                                              §     CIVIL ACTION 6:20-CV-00583-ADA
GOOGLE LLC,                                   §     CIVIL ACTION 6:20-CV-00584-ADA
                                              §     CIVIL ACTION 6:20-CV-00585-ADA
       Defendant.                             §
                                              §          JURY TRIAL DEMANDED


  PLAINTIFF’S MOTION FOR PROTECTIVE ORDER REQUIRING WITHDRAWAL
    OF SUBPOENAS AGAINST NONPARTIES BP FUNDING AND TERRIER SSC

       Pursuant to Federal Rule of Civil Procedure 26(c), Plaintiff WSOU Investments, LLC d/b/a

Brazos Licensing and Development (“WSOU”) files this Motion for Protective Order and

respectfully requests that the Court order Defendant to withdraw its subpoenas against nonparties

Terrier SC (“Terrier”) and BP Funding Trust (“BP Funding”) (Terrier and BP Funding are referred

to collectively herein as “Respondents”). Defendant seeks to compel these nonparties to produce

the same documents that this Court has previously held WSOU is not required to produce.

                                       BACKGROUND

       On or about May 16, 2019, WSOU and BP Funding entered a Patent Security Agreement

(the “BP Funding Security Agreement”). The BP Funding Patent Security Agreement was publicly

recorded with the United States Patent and Trademark Office on May 20, 2019 at Reel 049235,

Frames 0068-0185. BP Funding later assigned its security interest to Terrier SSC, LLC. Terrier

SSC, LLC released the BP Funding Security Agreement and publicly recorded a Release of

Security Interest in Patents dated May 28, 2021. The release is recorded at Reel 056526, Frames




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0093-0278. See Exhibit 1. 1

          Defendant has filed motions to compel against Respondents in Delaware. Defendant’s

motion to compel against BP Funding argues “communications . . . and the underlying loan

agreement between [WSOU] and BP Funding Trust” are relevant to standing. See Exhibit 2 ¶6.

Defendant’s motion to compel against Terrier argues that “agreements and communications”

relating to the assignment of the Security Agreement from BP Funding to Terrier are likewise

relevant to standing. See Exhibit 3 ¶ 4.

          This Court has already denied a motion to compel WSOU to produce the same documents

Defendant now seeks to compel from nonparties. In WSOU Investments LLC vs. Microsoft

Corporation, Civil Action Nos. W-20-cv-454 thru 465, the defendant moved to compel WSOU to

produce documents relating to the BP Funding Security Agreement, arguing those documents

could be relevant to standing. This Court denied Microsoft’s request on September 9 and again on

October 7, 2021. The September 9 and October 7 hearings are sealed and are therefore unavailable

to the Delaware court where Defendant filed its motions to compel against BP Funding and Terrier.

The agreed proposed order submitted by Microsoft and WSOU for the October 7 hearing states in

relevant part: “Microsoft’s request to compel WSOU to produce the underlying Loan Agreement

and full Security Agreement for . . . BP Funding Trust . . . is DENIED.” See Exhibit 4. At the

September 9 hearing, this Court also denied Microsoft’s motion to compel WSOU to produce

negotiations between WSOU and Nokia. Defendant’s subpoenas against BP Funding and Terrier

seek documents “concerning any contemplated acquisition of patents or rights in patents from

Nokia.” See Exhibit 5 at 13 ¶ 19; Exhibit 6 at 13 ¶19.

          On September 15, 2021, in response to a letter from Defendant demanding that WSOU

produce information relating to the BP Funding Trust Security Agreement (beyond the publicly

recorded security agreement and release, which Defendant already has produced), WSOU objected

to the request as overly broad and out of proportion to the needs of the case and notified Defendant


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    Exhibits are being filed only in the -571 case.


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that this Court had already denied Microsoft’s motion to compel the same documents. Rather than

filing a motion to compel those documents from WSOU with this Court, Defendant attempted an

end run by filing against BP Funding and Terrier in Delaware.

       Respondents served objections to Defendant’s subpoenas on October 19, 2021. See

Exhibit 7. Pursuant to Rule 45(f), WSOU and Respondents are filing a motion to transfer the

Delaware motions to compel to this Court.

                              ARGUMENT AND AUTHORITIES
       A. This Court has authority to enter a protective order relating to Defendant’s
          subpoenas.
       This Court has authority—and broad discretion—to enter a protective order relating to

Defendant’s subpoenas. Federal Rule of Civil Procedure 26(c) governs protective orders and

provides, in relevant part:
       A party or any person from whom discovery is sought may move for a protective
       order in the court where the action is pending.... The court may, for good cause,
       issue an order to protect a party or person from annoyance, embarrassment,
       oppression, or undue burden or expense.
Fed. R. Civ. P. 26(c) (emphasis added). “The Federal Rules of Civil Procedure clearly contemplate

that a party to an action may challenge a subpoena directed to a non-party via a request for a

protective order in the court where the action is pending, rather than in the court from which a

subpoena to a non-party was issued.” Morrison v. YTB Intern., Inc., CIV.08-579-GPM, 2010 WL

1752579, at *3 (S.D. Ill. Apr. 30, 2010) (emphasis added); Ernst v. Kauffman, 5:14-CV-59, 2016

WL 11261290, at *3 (D. Vt. June 23, 2016) (“Thus Rule 26(c)(1) itself contemplates that a non-

party may seek judicial relief on matters relating to a deposition in either the court where the action

is pending or in the court for the district where the deposition will be taken.”).

       Rule 26(c) confers “broad discretion on the trial court to decide when a protective order is
appropriate and what degree of protection is required.” Seattle Times Co. v. Rhinehart, 467 U.S.

20, 36 (1984). Thus, the court may, inter alia, forbid the disclosure or discovery; forbid inquiry

into certain matters, or limit the scope of disclosure or discovery to certain matters; or prescribe a

discovery method other than the one selected by the party seeking discovery. Fed. R. Civ. P. 26(c).


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        B. This Court is better suited to resolve this discovery dispute.

        This Court is better suited than Delaware to resolve this discovery dispute. This Court has

already considered and denied a motion to compel the same documents Defendant now seeks from

BP Funding and Terrier. This Court has also denied motions to compel negotiations between

WSOU and Nokia, information Defendant also now seeks to compel from Respondents. Further,

this Court is aware of its own local rules and practices that should have bearing on this discovery

dispute. For example, this Court’s Order Governing Proceedings does not generally allow for e-

discovery. Yet, Defendant demanded that nonparties BP Funding and Terrier agree to produce

emails (without informing them that this Court generally does not require e-discovery). This Court

should prevent Defendant’s attempt to do an end run around this Court’s orders.

        C. WSOU has standing to bring this motion.

        WSOU has standing to bring this motion. “A party has standing to move for a protective

order pursuant to Rule 26(c) ... even if the party does not have standing pursuant to Rule 45(d) to

bring a motion to quash a third-party subpoena.” Zamora v. GC Services, LP, EP-15-CV-00048-

DCG, 2017 WL 1861843, at *4 (W.D. Tex. Feb. 17, 2017) (cleaned up). In Zamora, this Court

held that an employee “has a personal right to his personnel files, and therefore has standing to

challenge a subpoena for his personnel files.” Id. (granting motion for protective order because

subpoena request for “entire personnel files” was overly broad). Here, WSOU has a personal right

to its loan file with BP Funding and Terrier, and therefore has standing to challenge a subpoena

for its loan file and documents relating to its loan file.
        D. There is good cause to enter a protective order requiring Defendant to withdraw
           its subpoenas and motions against BP Funding and Terrier.
        There is good cause to enter a protective order requiring Defendant to withdraw its

subpoenas and motions to compel against BP Funding and Terrier because this Court has already

refused to compel WSOU to produce the same information Defendant now seeks from non-parties.

The underlying loan documents are not relevant to a claim or defense in this case, as the operative

document—the publicly recorded security agreement—has already been produced. See Eidos



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Display, LLC v. AU Optronics Corporation, 6:11-cv-00201-JRG-JDL, 2016 WL 6680578, at *5

(E.D. Tex. Nov. 14, 2016) (holding that a security interest in a patent does not present a “typical

joinder issue” and does not create ownership rights in the patent). The same relevancy standard

that this Court applied in denying Microsoft’s motion to compel WSOU to produce documents

relating to the BP Funding Security Agreement should be applied in granting this motion and

forbidding Defendant from seeking the same documents directly from nonparty BP Funding. See

Cook v. Howard, No. 11–1601, 2012 WL 3634451, at *6 (4th Cir. Aug. 24, 2012) (per curiam)

(“Although Rule 45(c) sets forth additional grounds on which a subpoena against a third party may
be quashed ... those factors are co-extensive with the general rules governing all discovery that are

set forth in Rule 26.”); Singletary v. Sterling Transp. Co., Inc., 289 F.R.D. 237, 240–41 (E.D. Va.

2012) (“Thus, regardless of whether the Court considers Plaintiff's Motion under Rule 45 or Rule

26, the Court must review Defendant's subpoenas under the relevancy standards set forth in Rule

26(b).”).

       There is also good cause to enter a protective order compelling Google to withdraw its

subpoenas because the subpoenas are facially overbroad and seek information that (if it was

discoverable) could be sought from a less burdensome source. The scope of discovery is within

the sound discretion of the trial judge, who may “tailor discovery narrowly and dictate the sequence

of discovery.” Zamora, 2017 WL 1861843 at *2 (cleaned up). “However, the Court must limit

discovery, if it determines, on motion or on its own, that the discovery sought is unreasonably

cumulative or duplicative, or can be obtained from some other source that is more convenient, less

burdensome, or less expensive or the proposed discovery is outside the scope permitted by Rule

26(b)(1).” Id. (cleaned up). Rule 26(b), although broad, may not be used “as a license to engage in

an unwieldy, burdensome, and speculative fishing expedition.” Id. Defendant’s subpoenas seek

information on an array of topics that Defendant makes no effort to justify in its motions to compel,

making it clear that Defendant is engaged in a fishing expedition. Further, if information about the

BP Funding Security Agreement to WSOU was relevant, Defendant could seek that information

from WSOU without burdening nonparties.


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       Finally, there is good cause to enter a protective order because Defendant’s harassment of

WSOU’s current or former lenders with burdensome fishing expeditions can harm WSOU’s

relationships and thereby prejudice WSOU. If the information Defendant seeks is relevant and

discoverable, Defendant should seek it from WSOU.

Dated: October 20, 2021                     Respectfully submitted,

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                                            Ryan S. Loveless
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                               CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing instrument was served or delivered electronically

via the U.S. District Court CM/ECF Document Filing System to all counsel of record on October

20, 2021.


                                            /s/ Ryan S. Loveless
                                            Ryan S. Loveless



                            CERTIFICATE OF CONFERENCE

       Counsel for WSOU conferred with Google by email on October 14, 2021 and October 15,

2021. Google opposes this motion and has already filed motions to compel against BP Funding

and Terrier.


                                            /s/ Ryan S. Loveless
                                            Ryan S. Loveless




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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

          GOOGLE LLC,
                                                     )
                 Petitioner,                         )
                                                     )
          v.                                         )         C.A. No. _________________
                                                     )
          BP FUNDING TRUST,                          )
                                                     )
                 Respondent.
                                                     )

                       MOTION TO COMPEL BP FUNDING TRUST
               TO COMPLY WITH SUBPOENAS ON AN EXPEDITED BASIS

        1.      In this ancillary action, Defendant Google LLC (“Google”) moves for an order

 compelling third party BP Funding Trust (“BP Funding Trust”) to comply, on an expedited basis,

 with Google’s subpoenas attached hereto as Exhibits 1-2 seeking documents and testimony for use

 in ten separate cases captioned WSOU Investments, LLC d/b/a Brazos Licensing and Development

 v. Google LLC, Case Nos. 6:20-cv-571, 6:20-cv-572, 6:20-cv-573, 6:20-cv-575, 6:20-cv-576,

 6:20-cv-579, 6:20-cv-580, 6:20-cv-583, 6:20-cv-584, and 6:20-cv-585, each of which is pending

 in the United States District Court for the Western District of Texas Waco Division. In these ten

 cases, to which the subpoenas refer collectively as the “WSOU v. Google Litigations,” WSOU

 Investments, LLC (the plaintiff in the underlying actions, “WSOU”) has sued Google for alleged

 patent infringement. BP Funding Trust is a non-party to the WSOU v. Google Litigations which

 possesses information relevant to the parties’ claims and defenses, including information

 concerning a security interest in the asserted patents.

        2.      Rule 45 of the Federal Rules of Civil Procedure allows a party to obtain a subpoena

 to command a nonparty to produce documents or tangible things in its possession, custody, or

 control. Fed. R. Civ. P. 45. The scope of discovery through a subpoena under Rule 45 is the same
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 as under Rules 26 and 34 of the Federal Rules of Civil Procedure. See 9A Charles Alan Wright et

 al., Federal Practice and Procedure § 2452 (3d ed. 2019) (collecting cases). To that end, a party

 may obtain discovery of any non-privileged matter that is relevant to any claims or defenses. Fed.

 R. Civ. P. 26(b)(1). “[I]t is well recognized that the federal rules allow broad and liberal

 discovery.” Corning Inc. v. SRU Biosystems, LLC, 223 F.R.D. 191, (D. Del. 2004) (quoting Pacitti

 v. Macy’s, 193 F.3d 766, 777 (3d Cir. 1999)).

        3.      Although the subpoenas were issued by the Western District of Texas, they require

 compliance in the District of Delaware, where BP Funding Trust is subject to service and, hence,

 where the subpoenas commanded the production of documents and the deposition to occur. Rule

 37 provides that, “[o]n notice to other parties and all affected persons, a party may move for an

 order compelling disclosure or discovery.” Fed. R. Civ. P. 37(a)(1). The proper venue in which

 to file a motion to compel a nonparty to comply with a subpoena is “the district where compliance

 is required.” Fed. R. Civ. P. 45(d)(2)(B)(1). Because the subpoenas here require compliance in

 Delaware, venue is proper in this Court.

        4.      Google served BP Funding Trust on Wednesday, September 8, 2021, through its

 registered agent in Delaware. (Ex. 3). The response to Google’s document subpoena was due on

 Wednesday, September 22, the same date on which Google set BP Funding Trust’s deposition.

 (Exs. 1-2.) BP Funding Trust failed to respond.

        5.      BP Funding Trust is a special purpose investment vehicle controlled by a specialty

 finance company. (Ex. 4).

        6.      BP Funding Trust held a security interest in the asserted patents in the underlying

 litigations. (Ex. 5 (PTO Assignment Record) at 133 (Reel 056526/Frame 0225)). This security

 interest was not released on most of the patents-in-suit until June 3, 2021, nearly one year after the

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 filing of the lawsuits by WSOU against Google on June 29, 2020. (Id. at 65 (Reel 056526/Frame

 0157)). The communications sought by the subpoena concerning the scope of the security interest

 agreement, and the underlying loan agreement between the plaintiff in the underlying actions,

 WSOU Investments, LLC (“WSOU”) and BP Funding Trust which sets out the scope of the

 security agreement, are relevant to the issue of whether or not WSOU had standing to assert the

 patents in the underlying litigations.

        7.      Pursuant to D. Del. L.R. 7.1.1, Google met and conferred with counsel for BP

 Funding Trust on October 5, 2021 during which the parties reached an agreement whereby BP

 Funding Trust would produce certain documents on or before October 15, 2021 in exchange for

 Google not filing a motion to compel. (Ex 7). Based on the facts set forth herein, infra, Google

 was made aware on October 14, 2021 that BP Funding Trust would not uphold its agreement to

 produce such documents. (Ex. 12). Because of the approaching fact discovery cutoff on October

 22, 2021 in the underlying actions, Google had no choice but to file this expedited motion to

 compel to seek this highly relevant discovery.

 I.     PROCEDURAL HISTORY

        A.      Google Subpoenas BP Funding Trust

        8.      Google served BP Funding Trust on September 8, 2021, through its registered agent

 in Delaware. (Ex. 3). The response to Google’s document subpoena was due on September 22,

 2021, the same date on which Google set BP Funding Trust’s deposition. (Exs. 1-2.) BP Funding

 Trust failed to respond. Google first heard from BP Funding Trust on October 1, 2021, through

 attorney Robert Millimet of Stanton LLP. (Ex. 6.) Mr. Millimet stated that he was in the process

 of being retained in connection with the third-party discovery sought in Google’s subpoenas. (Id.)



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 He requested three to four days to get up to speed on the matter before meeting and conferring,

 and Google agreed. (Id.)

        9.       Google’s counsel, including its Delaware counsel, set a meeting on October 4 with

 Mr. Millimet. (Id.) However, when Google joined the teleconference, Mr. Millimet informed

 Google that he had still not been retained. Again, Google extended the professional courtesy of

 postponing the meet and confer.

        B.       BP Funding Trust Agrees to Produce Substantial Documents to Google

        10.      On October 5, Mr. Millimet was finally retained by his client, and he indicated that

 he was prepared to discuss the subpoenas Google served to BP Funding Trust. (Ex. 7).

        11.      During this call, BP Funding Trust and Google reached an agreement under which

 BP Funding Trust would produce substantial documents to Google in exchange for Google not

 pursuing a motion to compel. The categories of documents that BP Funding Trust agreed to

 produce were:

        Any documents or communications (including email) leading up to and including the
        loan or security agreement entered into by and between BP and WSOU Investments,
        LLC, or its affiliates (collectively “WSOU”) in or around May of 2019.

        The security or loan agreement itself between BP and WSOU.

        Any documents (including forwarded communication) provided to BP by WSOU at any
        time regarding the assets securing the loan, inclusive of any documents provided to BP
        by counsel for WSOU. This would include any valuations or opinions regarding any of
        the assets/patents inclusive of things like market analysis, licensing forecasts or strength
        of one or more patents in the portfolio. We agreed that BP would not have to provide a
        privilege log, at this time, reflecting communications it had with its own outside counsel
        regarding these assets.

        Any documents or communications (including email) leading up to and including the
        transfer or sale of the security interest or loan with WSOU to a third party in or around
        January of 2020. These would include communications with WSOU and/or with a third
        party.


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        The official agreement or instrument executed in conveying the WSOU loan or security
        agreement to the third party.


 (Ex. 7). BP Funding Trust agreed to produce these documents by Friday, October 15, 2021. (Ex.

 8.)

        12.        In exchange for this document production by BP Funding Trust, Google was

 “willing to postpone filing any motion to compel on either the subpoena for documents or

 deposition in light of BP’s agreement to provide the documents it believes it has in its possession

 by October 15, 2021.” (Ex. 7). Google “further agreed to postpone the question of whether or not

 Google would proceed with a deposition of BP until after the documents had been produced on

 October 15, 2021 and Google had an opportunity to assess whether a deposition was necessary at

 that time.” Id.

        13.        There is no dispute about any of this. Google memorialized the “productive meet

 and confer” discussion the very same day in an email to BP Funding Trust. (Ex. 7). The following

 day, October 6, BP Funding Trust unreservedly accepted the statements in Google’s October 5

 email, stating:

               Thank you. This email will confirm BP Funding Trust’s acknowledgment of your
        accurate recitation of the agreements reached during our meet and confer yesterday
        concerning the two subpoenas issued by Google LLC to BP Funding Trust.

 (Ex. 8).

        14.        In the same correspondence, BP Funding Trust committed to additionally search

 for and produce communications with WSOU regarding the relevant security interest.

               In addition, per your request, BP Funding Trust will agree to produce any
        documents or communications with WSOU after January 2020, to the extent any such
        materials concerning the loan and the patents exist.

 Id.

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        15.     Google acknowledged its mutual understanding with BP Funding Trust by email

 message the same day, October 6. (Ex. 9).

        16.     On Tuesday, October 12, BP Funding Trust even emailed Google once more, to

 provide assurances that its document production was still “on track” for Friday, October 15. (Ex.

 10 (“We are on track to produce the BasePoint documents on Friday.”)). In the same message,

 counsel for BP Funding Trust stated that he had been retained to represent Terrier in Google’s

 related motion to compel, No. 1:21-00419, and requested a meeting to discuss the pending motion

 to compel Terrier. (Id.).

        C.      One Day Before BP Funding Trust’s Scheduled Production, Plaintiff in the
                Underlying Case Appears, and BP Funding Trust Reneges on Its Agreement

        17.     On October 14, 2021, WSOU sent Google an email, cc’ing Mr. Millimet,

 demanding that Google “immediately” withdraw its subpoenas on BP Funding Trust. (Ex. 11).

 WSOU was served with notice of the subpoenas on BP Funding Trust over a month ago on

 September 8, 2021 and despite extensive meet-and-confers with Google on a host of discovery

 issues during that time frame, has never raised any objection to the subpoenas. It was not until the

 eve of BP Funding Trust’s agreed document production, and with only a week left in fact discovery

 in the underlying case, that WSOU attempted to intervene in the process. (See, e.g., No. 6:20-cv-

 571 (W.D. Tex.), D.I. 33 (First Amended Scheduling Order) at 3).

        18.     Google immediately tried to reach counsel for BP Funding Trust, leaving a

 voicemail with BP Funding Trust counsel, Robert Millimet, requesting an urgent teleconference

 with Mr. Millimet within thirty minutes of receipt of WSOU’s email purportedly objecting to BP’s

 agreed-upon document production.        Mr. Millimet responded with a short email message

 confirming that BP Funding Trust would no longer honor its agreement to produce documents

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 today, but instead that he would "talk[] to the client in the morning tomorrow to discuss this

 afternoon’s developments," after which he would let Google know "what the plan is." (Ex. 12).

 Google wrote back, confirming that BP Funding Trust would no longer abide by the parties'

 agreement. (Id.). BP Funding Trust did not reply.

        19.     As of the filing of this motion, BP Funding Trust has provided neither objections

 nor any formal response to either of the subpoenas served by Google on September 8, 2021.

 II.    ARGUMENT

        A.      Google’s Requests Seek Relevant Information

        20.     Rule 45 of the Federal Rules of Civil Procedure allows a party to obtain a subpoena

 to command a nonparty to produce documents or tangible things in its possession, custody, or

 control. Fed. R. Civ. P. 45. The scope of discovery through a subpoena is the same as under Rules

 26 and 34 of the Federal Rules of Civil Procedure. See 9A Charles Alan Wright et al., Federal

 Practice and Procedure § 2452 (3d ed. 2019) (citing cases). A party may obtain discovery of any

 non-privileged matter that is relevant to any claims or defenses. Fed. R. Civ. P. 26(b)(1). “[I]t is

 well recognized that the federal rules allow broad and liberal discovery.” Corning Inc. v. SRU

 Biosystems, LLC, 223 F.R.D. 191, (D. Del. 2004) (quoting Pacitti v. Macy’s, 193 F.3d 766, 777

 (3d Cir. 1999)).

        21.     Here, the documents and testimony sought by Google’s subpoenas are relevant to

 the issue of whether or not the plaintiff in the underlying actions, WSOU, has standing to assert

 one or more of the patents-in-suit against Google. See e.g., Lone Star Silicon Innovations LLC v.

 Nanya Tech. Corp., 925 F.3d 1225 (Fed. Cir. 2019); see also Uniloc USA, Inc. v. Motorola

 Mobility, LLC, No. CV 17-1658-CFC, 2020 WL 7771219, at *8 (D. Del. Dec. 30, 2020).



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        22.     BP Funding Trust was issued a security interest in one or more of the patents-in-

 suit prior to the filing of the lawsuits against Google. (Ex. 5 (PTO Assignment Record) at 133

 (Reel 056526/Frame 0225)). This security interest remained in place until almost a year after the

 filing of the complaints against Google, when another entity named Terrier SSC, LLC filed a

 release of security interest with the Patent and Trademark Office.         (See id. at 65 (Reel

 056526/Frame 0157)). The document filed with the PTO states that the security interest was

 assigned from BP Funding Trust to Terrier at some undisclosed point during the pending litigation

 against Google. Id.

        23.     The underlying agreements and communications regarding what portion of

 ownership in one or more of the patents-in-suit resided with either BP Funding Trust or Terrier at

 the time of the filing of these lawsuits, is a relevant and discoverable issue. To date, WSOU has

 refused to produce any documentation from or with BP Funding Trust or Terrier and has directed

 Google to publicly available information only. This public information, however, is insufficient

 for the purposes of determining the nature of plaintiff’s interest in the asserted patents when

 WSOU filed the underlying suit, and Google has served these subpoenas to seek discoverable

 information relevant to the question of standing. BP Funding Trust waived any objections to the

 subpoenas when it failed to respond. (See PHL Variable Ins. Co. v. Alan Wollman Ins. Tr., No.

 CIV.A. 08-53-JJF, 2010 WL 2836388, at *1 (D. Del. July 16, 2010)). Moreover, the relevance of

 the documents and testimony sought outweighs any purported burden BP Funding Trust may assert

 in complying with the subpoenas.




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        B.      BP Agreed Weeks Ago to Produce Documents in Response to the Subpoena

        24.     The facts here are remarkable—not only has the subject of this Motion agreed both

 in person and explicitly in writing to search for responsive documents, it has also agreed that

 numerous documents exist, and has agreed to produce those documents by a date certain. (Ex. 8).

        25.     Specifically, counsel for BP Funding Trust offered to produce the documents that

 fall into the following categories:

                Any documents or communications (including email) leading up to and including
        the loan or security agreement entered into by and between BP and WSOU Investments,
        LLC, or its affiliates (collectively “WSOU”) in or around May of 2019.

                The security or loan agreement itself between BP and WSOU.

                Any documents (including forwarded communication) provided to BP by WSOU
        at any time regarding the assets securing the loan, inclusive of any documents provided to
        BP by counsel for WSOU. This would include any valuations or opinions regarding any
        of the assets/patents inclusive of things like market analysis, licensing forecasts or
        strength of one or more patents in the portfolio. We agreed that BP would not have to
        provide a privilege log, at this time, reflecting communications it had with its own
        outside counsel regarding these assets.

                Any documents or communications (including email) leading up to and including
        the transfer or sale of the security interest or loan with WSOU to a third party in or
        around January of 2020. These would include communications with WSOU and/or with
        a third party.

                The official agreement or instrument executed in conveying the WSOU loan or
        security agreement to the third party.

  (Ex. 7). These documents are relevant, and by its own admission, BP Funding Trust has already

 collected them and has identified no burden in producing the documents in short order.

        C.      BP Waived Its Objections

        26.     To the extent BP Funding Trust purports to belatedly object to the subpoenas, any

 objections have already been waived. Rule 45 provides that a nonparty served with a subpoena

 may object, but “[t]he objection must be served before the earlier of the time specified for

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 compliance or 14 days after the subpoena is served.” Fed. R. Civ. P. 45(d)(2)(B). Here, both the

 14 days and the time for compliance have passed.

          27.   “A nonparty’s failure to timely make objections to a Rule 45 subpoena duces tecum

 generally requires the court to find that any objections have been waived.” Moon v. SCP Pool

 Corp., 232 F.R.D. 633, 636 (C.D. Cal. 2005); U.S. ex rel. Schwartz v. TRW, Inc., 211 F.R.D. 388,

 392 (C.D. Cal. 2002) (“Failure to serve timely objections waives all grounds for objection,

 including privilege.”); In re Sumar, 123 F.R.D. 467, 472 (S.D.N.Y. 1988) (enforcing a nonparty

 subpoena over untimely objections because the respondent “did not even contact” the party who

 served the subpoena within the time for compliance and because the “failure to object timely

 constitutes a waiver of any objections”). Moreover, the Court “may hold in contempt a person

 who, having been served, fails without adequate excuse to obey the subpoena.” Fed. R. Civ. P.

 45(g).

          28.   BP Funding Trust was properly served, yet it failed to make any timely objections.

 Google properly effected service through BP Funding Trust’s registered agent, as documented by

 the proof of service. (Ex. 3). By choosing to ignore Google’s subpoenas until long after the

 response date, BP Funding Trust waived any and all objections. See PHL Variable Ins., 2010 WL

 2836388, at *1 (concluding that where a third party did not move to quash until after the subpoena

 compliance date, and has responded to some document requests, he “has waived his right to object

 to the subpoena”); see also Health Robotics, LLC v. Bennett, No. 9-0627, 2009 WL 10687682, at

 *1 (E.D. Pa. Aug. 24, 2009) (Non-parties “did not object to the subpoenas within fourteen (14)

 days of when they were served, but instead waited over a month to file the instant Motion. Having

 not timely objected, Non-parties have waived any objections”).



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        29.     Even if BP Funding Trust now attempts to quash the subpoenas, this Court should

 compel it to produce the requested documents and testimony as set forth in Google’s subpoenas,

 because the relevance of the discovery sought, Google’s need for such discovery, and the minimal

 hardship to BP Funding Trust favors production of the requested discovery. Heat & Control, Inc.

 v. Hester Indus., Inc., 785 F.2d 1017, 1024 (Fed. Cir. 1986) (“the factors required to be balanced

 by the trial court in determining the propriety of a subpoena are the relevance of the discovery

 sought, the requesting party's need, and the potential hardship to the party subject to the

 subpoena”).

        30.     Accordingly, pursuant to Rules 37(a)(2) and 45(d)(2)(B)(i) of the Federal Rules of

 Civil Procedure, Google respectfully moves this Court to compel BP Funding Trust to comply

 with Google’s requests for both deposition testimony and the production of documents. Google

 respectfully requests that this Motion be considered on an expedited basis in light of the impending

 close of discovery in the WSOU v. Google Litigations on October 22, 2021. See, e.g., No. 6:20-

 cv-571 (W.D. Tex.), D.I. 33 (First Amended Scheduling Order) at 3.



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                                                   Attorneys for Google LLC


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 Dated: October 15, 2021




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                                     CERTIFICATE OF SERVICE


        I hereby certify that on October 15, 2021, I caused the foregoing to be electronically filed

 with the Clerk of the Court using CM/ECF.

        I further certify that copies of the foregoing document will be served upon the following in

 the manner indicated:


  BP Funding Trust                                                 VIA ELECTRONIC MAIL
  ℅ Robert Millimet
  Comerica Bank Tower
  1717 Main St Suite 3800
  Dallas, TX 75201
  Rob@stantonllp.com

 Counsel for BP Funding Trust

                                                             /s/ Brian P. Egan_____________
                                                             Brian P. Egan (#6227)
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 WSOU INVESTMENTS, LLC d/b/a BRAZOS                   Civil Action No. 6:20-cv-00454-ADA
 LICENSING AND DEVELOPMENT,
                                                      Civil Action No. 6:20-cv-00455-ADA
                       WSOU,                          Civil Action No. 6:20-cv-00456-ADA
                v.                                    Civil Action No. 6:20-cv-00457-ADA
 MICROSOFT CORPORATION,                               Civil Action No. 6:20-cv-00458-ADA

                       Microsoft.                     Civil Action No. 6:20-cv-00459-ADA
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                       ORDER REGARDING DISCOVERY DISPUTES

        This Court, having considered the parties’ disputes raised during the October 7, 2021

 Discovery Hearing, hereby ORDERS the following:

        Microsoft’s request for leave to amend its invalidity contentions is GRANTED.

 Microsoft may amend its invalidity contentions with respect to the prior art references addressed

 during the October 7 Discovery Hearing and set forth below:

            •   CINEMA Prior Art (-464 action), to the extent Microsoft receives third-party

                source code in response to its subpoena.

            •   Live Communication Server (LCS) 2005 Prior Art,

                Microsoft_Skype_WSOU282927 (-456 action).
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            •   Mitel Prior Art, Administrator Guide “Your Assistant 3.1,”

                MS_WSOU_MITEL00000488-MS_WSOU_MITEL00000549 (-456 action).

            •   Microvision Prior Art, MV000561-600; MV000604-608 (-459 and -463 actions).

            •   BMC Prior Art, “Patrol Dashboard & Agent,” BMC-000024 to BMC-000115;

                BMC-000396 to BMC-000953; BMC-000116 to BMC-000275; BMC-001828 to

                BMC-001945; BMC-003359 to BMC-003388; BMC-004137 to BMC-004384;

                BMC-004093 to BMC-004136; BMC-004055 to BMC-004092; BMC-003359 to

                BMC-003388; BMC-003389 to BMC-003480, and other references cited in

                Microsoft’s ’160 Patent Second Amended Invalidity Contentions – Exhibit F-1 (-

                454 and -465 actions).

            •   EA source code (-457 action).

        WSOU’s request to compel Microsoft to provide financial and technical documents and

 source code on Microsoft Teams, for the -464 action, is GRANTED. By no later than October

 13, 2021, Microsoft will notify WSOU when it is that Microsoft can produce its documents

 relating to Microsoft Teams..

        WSOU’s request to compel discovery concerning IVAS is DENIED.

        WSOU’s request to compel Microsoft to print diagrams generated by WSOU’s experts

 using third-party software is GRANTED-IN-PART. WSOU may request up to 20 such diagrams

 per case, and Microsoft may apply any designation it sees fit to ensure confidentiality and clarify

 the source of these diagrams.

        Microsoft’s request to compel WSOU to produce complete license agreements, including

 all attachments, and confirm that it has produced all license agreements in its possession is
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 GRANTED-IN-PART and DENIED-IN-PART as moot. WSOU shall produce all exhibits to the

 license agreements it has produced in the form they are kept in the ordinary course of business.

        Microsoft’s request to compel WSOU to produce financial information for the years 2017

 and 2019 is GRANTED. By no later than October 15, 2021, WSOU shall produce an annual

 financial statement for 2017 and an annual financial

 statement for 2019.

        Microsoft’s request to compel WSOU to produce unredacted quarterly reports is

 GRANTED-IN-PART and DENIED-IN-PART. WSOU shall provide written verification to

 Microsoft that every redaction in the quarterly reports at issue was made because those redacted

 portions describe negotiations.

        Microsoft’s request to compel WSOU to produce the marketing materials identified by

 Matt Hogan at his deposition is GRANTED-IN-PART and DENIED-IN-PART. WSOU shall

 produce marketing materials corresponding to Q4 2017 and Q4 2019, the quarters in which a

 hypothetical negotiation may have taken place for the -453, 459, and -463 actions.

        Microsoft’s request to compel WSOU to produce the underlying Loan Agreement and

 full Security Agreement for both the BP Funding Trust and OT WSOU Terrier Holdings security

 interests is DENIED.

         Microsoft’s request to compel WSOU to search for and produce all sales and marketing

 documents in its possession from Aqua Licensing is DENIED as moot. WSOU is ORDERED to

 identify such documents by Bates number and date of production.

        WSOU’s request to compel Microsoft to answer Interrogatory No. 10 in the -457 action,

 served on September 29, 2021, is GRANTED. It is hereby ORDERED that all deadlines in the -

 457 action are extended by five months.
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        SIGNED this __ ___ day of October 2021.



                                                  ____________________________________
                                                  HONORABLE ALAN D ALBRIGHT
                                                  UNITED STATES DISTRICT JUDGE
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            EXHIBIT 5
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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

                                                                                                                           20-571
                                       UNITED STATES DISTRICT COURT                                                        20-572
                                                                           for the                                         20-573
                                                                                                                           20-575
                                                          Western District
                                                       __________ District of
                                                                           of Texas
                                                                              __________                                   20-576
                                                                                                                           20-579
                    WSOU Investments LLC                                      )                                            20-580
                               Plaintiff                                      )                                            20-583
                                  v.                                          )        Civil Action No.                    20-584
                                                                              )                                            20-585
                           Google LLC                                         )        (If the action is pending in another district, state where:
                              Defendant                                       )              __________ District of __________                 )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
        BP Funding Trust
To: c/o Wilmington Savings Fund Society, FSB, 500 Delaware Avenue, 11th Floor, Wilmington, Delaware 19801

    ✔ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
    ’
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material:

      See Exhibit A


 Place:                                                                                 Date and Time:
    Basye Santiago Reporting                                                               September 22, 2021
    1201 N. Orange Street, Suite 7013, Wilmington, Delaware 19801

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.

Date:     September 7, 2021

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail, and telephone number of the attorney representing (name of party)
                 Google LLC                                             , who issues or requests this subpoena, are:


Jennifer A. Kash, Warren Lex LLP, 2261 Market Street, San Francisco, CA 94114; jen@warrenlex.com; 415-895-2923
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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                   .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                               on (date)                               ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc:
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 AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored information:
person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
earnings and reasonable attorney’s fees — on a party or attorney                  course of business or must organize and label them to correspond to
who fails to comply.                                                              the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the            produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                 in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                 (C) Electronically Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                     Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                 electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                           (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or           responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                 accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14              discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and            (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s               (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                           protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim; and
quash or modify a subpoena that:                                                     (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party’s officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                 (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by              reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert’s study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur         subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
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                                              EXHIBIT A

                                            DEFINITIONS

         1.      The term “WSOU v. Google Litigations” means 6:20-cv-00571, 6:20-cv-00572,

 6:20-cv-00573, 6:20-cv-00575, 6:20-cv-00576, 6:20-cv-00579, 6:20-cv-00580, 6:20-cv-00583,

 6:20-cv-00584, 6:20-cv-00585.

         2.      The terms “WSOU,” shall mean plaintiff WSOU Investments, LLC, WSOU

 Holdings, LLC, WSOU Investments II, LLC, WSOU Capital Partners, LLC, and their officers,

 directors, principals, current and former employees, counsel, agents, consultants, representatives,

 and any other persons acting on behalf of any of the foregoing; as well as its affiliates, parents,

 divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

 and any other legal entities, whether foreign or domestic, that are owned, controlled by, or under

 common control with it, and all predecessors and successors in interest to such entities.

         3.      The term “Defendant” or “Google” shall mean Google LLC, and shall include,

 individually or collectively, any and all of its past and present officers, directors, partners,

 trustees, employees, corporate parents, subsidiaries, predecessors, affiliates, agents,

 representatives, and attorneys.

         4.      The term “BP Funding Trust” or “you” or “your” means Basepoint

 Administrative LLC and BP Funding Trust, a Delaware statutory trust; BP Funding Trust, Series

 SPL-VI, a statutory series of BP Funding Trust; and their trustees, managers, agents,

 representatives, employees, attorneys, or entities acting in conjunction, joint venture, or

 partnership with any of them including but not limited to Basepoint Capital LLC, Basepoint Tax

 Funding Trust, Venture 4th Basepoint 1, LLC, Basepoint Administrative LLC, Basepoint Asset

 Recovery LLC, or any other “Basepoint” entity or related entity thereto.



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         5.      The term “Orange” and “Orange Holdings” shall mean Orange Holdings, its

 current and former officers, directors, principals, employees, counsel, agents, consultants,

 representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

 predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.

         6.      The term “WCFT Cayman” means WCFT Cayman, its current and former

 officers, directors, employees, counsel, agents, consultants, representatives, affiliates, parents,

 divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

 any other persons acting on behalf of any of the foregoing, and any other entities that own or

 control or are owned or controlled by or share common ownership or control with any of the

 foregoing, as well as predecessors and successors in interest to such entities.

         7.      The term “Wade and Company” means Wade and Company or Wade & Company,

 its current and former officers, directors, employees, counsel, agents, consultants,

 representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

 predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.

         8.      The term “Omega Credit Opportunities Master Fund” means Omega Advisors,

 Inc.; Omega Credit Opportunities Master Fund, LP; OCO Opportunities Master Fund, L.P. (f/k/a

 Credit Opportunities Master Fund, LP), and their trustees, managers, agents, representatives,



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 employees, attorneys, or entities acting in conjunction, joint venture, or partnership with any of

 them.

         9.      The term “Nokia” means Nokia of America Corporation, Nokia Corporation,

 Nokia Networks, Nokia Abp, Nokia Solutions and Networks Holdings USA Inc., Nokia USA

 Inc., Nokia Oyj, Nokia Technologies Oyj, Nokia Solutions and Networks B.V., Nokia Solutions

 and Networks Oyj, their current and former officers, directors, principals, employees, counsel,

 agents, consultants, representatives, affiliates, parents, divisions, joint ventures, licensees,

 franchisees, assigns, predecessors and successors in interest, any other persons acting on behalf

 of any of the foregoing, and any other entities that own or control or are owned or controlled by

 or share common ownership or control with any of the foregoing (including Alcatel Lucent,

 Alcatel Lucent Enterprises, Alcatel-Lucent International, Alcatel and Lucent Technologies), as

 well as predecessors and successors in interest to such entities.

         10.     The term “AQUA” shall mean Aqua Licensing, LLC, its current and former

 officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

 parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

 interest, any other persons acting on behalf of any of the foregoing, and any other entities that

 own or control or are owned or controlled by or share common ownership or control with any of

 the foregoing, as well as predecessors and successors in interest to such entities.

         11.     The term “Houlihan” shall mean Houlihan Lokey, Inc., its current and former

 officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

 parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

 interest, any other persons acting on behalf of any of the foregoing, and any other entities that




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 own or control or are owned or controlled by or share common ownership or control with any of

 the foregoing, as well as predecessors and successors in interest to such entities.

         12.     The term “Terrier” shall mean Terrier SSC, LLC, OT WSOU Terrier Holdings,

 LLC, its current and former officers, directors, principals, employees, counsel, agents,

 consultants, representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees,

 assigns, predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.

         13.     The term “Credit Suisse” means Credit Suisse AG, Credit Suisse Group AG, its

 current and former officers, directors, employees, counsel, agents, consultants, representatives,

 affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

 successors in interest, any other persons acting on behalf of any of the foregoing, and any other

 entities that own or control or are owned or controlled by or share common ownership or control

 with any of the foregoing, as well as predecessors and successors in interest to such entities.

         14.     The term “Juniper Capital Partners” shall mean Juniper Capital Partners, LLC, its

 current and former officers, directors, principals, employees, counsel, agents, consultants,

 representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

 predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.




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         15.     The term “Coast Asset Management” shall mean Coast Asset Management, LLC,

 its current and former officers, directors, principals, employees, counsel, agents, consultants,

 representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

 predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.

         16.     The term “asserted patent” or “asserted patents” shall mean one or more of any

 patent asserted in the WSOU v. Google litigations, including without limitation, U.S. Patent Nos.

 7,620,967, 7,777,728, 7,817,858, 7,946,491, 8,041,806, 8,559,928, 8,595,283, 8,640,180,

 8,737,961, 8,803,697.

         17.     The term “affiliates” shall mean any entity, including parent companies and

 majority-owned subsidiaries, now or hereafter acquired or formed that is directly or indirectly

 controlled by a party, or is under common control with a party, or is an entity that controls a

 party, as well as all predecessors and successors of such entities. For this purpose “control”

 means direct or indirect ownership of, or the right to exercise, at least 50% of the voting power,

 or at least 50% of the ownership interest representing either the irrevocable right to name a

 majority of the members of the governing body of such entity, or the right to make binding

 decisions for the entity.

         18.     The term “related application” shall mean any patent or application related to a

 patent, including any application or other filing from which the patent claims priority, any

 foreign counterpart patents or applications, whether by continuation, continuation-in-part,

 division, reexamination, correction or re-issue, and whether issued, pending, or abandoned.



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        19.     The term “related patent” shall mean any patent, including any foreign

 counterpart patent and any patent which may have been opposed, contested or subjected to any

 nullity proceedings, that is based in whole or in part on any related application.

        20.     The term “named inventor” means any person or persons named as an inventor on

 the face of any asserted patent or related patent.

        21.     The term “accused product” shall mean any item, device, or product that WSOU

 contends infringes one or more claims of any asserted patent.

        22.     The term “asserted claim” shall mean any claim of any asserted patent that

 WSOU contends has been infringed by Google.

        23.     The terms “including” or “that includes” mean including without limitation.

        24.     The term “person” includes any individual, corporation, proprietorship,

 association, joint venture, company, partnership or other business or legal entity, including

 governmental bodies and agencies.

        25.     The term “prior patent owner” shall mean any person that owned any interest in

 the patent-in-suit or any application leading to the patent-in-suit.

        26.     The terms “concerning,” “regarding,” “relating to,” or “related to” in regard to a

 particular subject shall mean, without limitation, concerning, constituting, contradicting,

 comprising, commenting on, containing, describing, discussing, embodying, evidencing,

 identifying, involving, mentioning, pertaining to, referring to, reflecting, regarding, relating to,

 responding to, stating, supporting, tending to support or refute, relating or referring (directly or

 indirectly) to or in any way, the particular subject matter identified, in whole or in part.

        27.     The term “document,” as used herein, has the same meaning it has under Rule 34

 of the Federal Rule of Civil Procedure and includes all written, graphic or otherwise recorded



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 material, including microfilms or other film records or impressions, electronically stored

 information regardless of the form of storage medium, tape recordings or computer cards, floppy

 disks or printouts, papers, photographs, films, recordings, memoranda, books, records, accounts,

 communications, letters, telegrams, correspondence, notes of meetings, notes of conversations,

 notes of telephone calls, inter-office memoranda or written communications, recordings of

 conversations either in writing on any mechanical or electronic recording device, including

 email, notes, papers, reports, analyses, invoices, canceled checks or check stubs, receipts,

 minutes of meetings, time sheets, diaries, desk calendars, ledgers, schedules, licenses, financial

 statements, telephone bills, logs, and any differing versions of any of the foregoing, whether so

 denominated, formal, informal or otherwise, as well as copies of the foregoing which differ in

 any way, including by the addition of handwritten notations or other written or printed matter,

 from the original, and further includes information stored in a computer database and capable of

 being generated in documentary form, such as electronic mail.

        28.     “Communications” includes any transmission, conveyance or exchange of a word,

 statement, fact, thing, idea, document, instruction, information, demand or question by any

 medium, whether by written, oral or other means, including but not limited to, electronic

 communications and electronic mail.

        29.     Use of the singular also includes the plural and vice-versa.

        30.     The terms “or” and “and” shall be both conjunctive and disjunctive wherever they

 appear, and neither of these words shall be interpreted to limit the scope of these discovery

 requests.

        31.     The words “any” and “each” shall be construed to encompass the word “all.”

        32.     A verb in any tense shall mean the verb in all other tenses.



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         33.     “Other WSOU Defendants” shall mean any and all companies that WSOU has

 sued in patent litigation matters, including but not limited to ZTE Corporation, ZTE (USA), Inc.,

 ZTE (TX), Inc.; Microsoft Corporation; Dell Technologies, Inc., Dell Inc., EMC Corporation,

 VMWare, Inc.; Huawei Technologies Co., Ltd., Huawei Technologies USA Inc., Huawei Device

 (Shenzen) Co., Ltd. (f/k/a Huawei Device Co., Ltd.), Huawei Device USA, Inc., Huawei

 Investment & Holding Co., Ltd.; Hewlett Packard Enterprise Company; Juniper Enterprise

 Networks, Inc.; Xilinx, Inc.; NEC Corporation; OnePlus Technology (Shenzen) Co., Ltd.;

 Canon, Inc.; TP-Link Technology Co., Ltd.; F5 Networks, Inc.; Arista Networks, Inc.;

 Salesforce.com; Cisco Systems, Inc.; Netgear, Inc.

                                         INSTRUCTIONS

         1.      The singular form of a word should be interpreted in the plural as well. Any

 pronoun shall be construed to refer to the masculine, feminine or neutral gender as in such case is

 most appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

 whichever makes the request most inclusive. The words “any” and “each” shall be construed to

 encompass the word “all.” The past tense shall be interpreted to include the present tense where

 the meaning is not distorted and the verb form of a noun or pronoun may be used, as appropriate

 in a particular context.

         2.      In the event that you object to any document request on the ground that it is

 overbroad and/or unduly burdensome for any reason, respond to that document request as

 narrowed to the least extent necessary, in your judgment, to render it not overbroad/unduly

 burdensome and state specifically the extent to which you have narrowed that document request

 for purposes of your response.




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        3.       In the event that you object to any document request on the ground that it is vague

 and/or ambiguous, identify the particular words, terms or phrases that are asserted to make such

 request vague and/or ambiguous and specify the meaning actually attributed to you by such

 words for purposes of your response thereto.

        4.       If possible, supply all annual data requested on a calendar basis. However, if

 fiscal year data is provided, please specify the month in which the fiscal year begins and

 terminates. Where information is requested “for each year,” include the requested information

 for all prior years and also the requested information available for the current year and specify

 what portion of the current year is covered by such information.

        5.       If information requested is not readily available from your records in exactly the

 form requested, furnish the information in the form maintained by you or carefully prepared

 estimates, designated as such and attach explanations of any estimate used and how the estimate

 was prepared.

        6.       If you do not answer any request, or part thereof, because of a claim of privilege

 or any other claim, set forth the privilege claimed, the facts upon which you rely to support the

 claim or privilege and furnish a list identifying each item of information for which privilege is

 claimed, containing at least the following information:

             a. The date the document was created;

             b. The names of the owner or author(s)/sender(s) of the document;

             c. If the document is an email, the name of the recipient(s), including copy and blind

                 copy recipients;

             d. A brief description of the document and type of legal advice; and




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             e. The grounds for the claim or privilege (e.g., attorney work product,

                attorney-client communication).

        The sender(s) and recipient(s) shall be identified by position and entity (corporation or

 firm, etc.) with which they are employed or associated. If the sender or recipient is an attorney or

 foreign patent agent, he or she should be so identified. In the case of a foreign patent agent, there

 should be a statement of whether the laws of the agent’s country grant privileged status to a

 patent agent’s communication. The type of privilege claimed must also be stated, together with

 certification that all elements of the claimed privilege have been met and not waived with respect

 to each document.

        7.      Technical terms shall have their normal technical meaning. If you find the

 meaning of any term in these requests to be unclear, you must assume a reasonable meaning,

 state what the assumed meaning is, and answer on the basis of that assumed meaning. If you

 wish to clarify your interpretation of any particular term that it relied on in answering a request,

 you should do so in its answer.

        8.      To the extent that any portion of a request requires the production of documents

 that were at one time within your possession, custody, or control, but which are now in the

 possession, custody, or control of another, you are directed to identify such documents in a

 manner sufficient to describe such documents for the purpose of preparing and serving a proper

 subpoena and to give the name, telephone number, address, and e-mail address of the person last

 known by you to have been in possession, custody, or control of such documents.

                                REQUESTS FOR PRODUCTION

        1.      Documents concerning the formation of BP Funding Trust.

        2.      Documents concerning your relationship to NextPoint Acquisition Corp.



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         3.      Documents concerning your corporate structure.

         4.      Documents concerning your investments or interests in the asserted patents,

 including assignment, licensing, acquisition, financial interest, security interest, lien, sale,

 transfer of rights (in whole or in part) and any other disposition of or any offers to buy, sell,

 obtain rights to, or licenses any of the asserted patents.

         5.      Documents concerning discussions with NextPoint Acquisition Corp. regarding

 any asserted patent, a portfolio including an asserted patent, assignment of any interest in any

 asserted patent or a portfolio including an asserted patent, or the acquisition or potential

 acquisition of any portfolio that might have included an asserted patent.

         6.      Documents concerning discussions with Terrier regarding any asserted patent, a

 portfolio including an asserted patent, assignment of any interest in any asserted patent or a

 portfolio including an asserted patent, or the acquisition or potential acquisition of any portfolio

 that might have included an asserted patent.

         7.      Agreements with Terrier concerning any potential or actual transaction regarding

 any asserted patent, a portfolio including an asserted patent, or the acquisition or potential

 acquisition of any portfolio that might have included an asserted patent.

         8.      Agreements with the named inventor(s) of any of the asserted patents, including

 assignment agreements, consulting agreements, employment agreements and any agreements

 pertaining to litigation involving the asserted patents or any related patents.

         9.      Compensation, cost-sharing, or profit sharing agreements with any of the named

 inventor(s) of the asserted patent(s).




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         10.     Documents regarding the assignment, licensing, acquisition, financial interest,

 security interest, lien, sale, transfer of rights (in whole or in part) and any other disposition of or

 any offers to buy, sell, obtain rights to, or licenses any of the asserted patents.

         11.     Documents concerning the nature and scope of any rights you had in the past or

 currently have in each of the asserted patents, related applications or related patents from the

 time each alleged invention was conceived through the present, including the right to control any

 portion of litigation, future royalties, payment for licenses, contingent rights, or payments

 depending on the outcome of litigation.

         12.     Documents regarding agreements relating to each of the asserted patents (or any

 portfolio including any of the asserted patents), including assurances, covenants not to sue and

 understandings not to assert any of the asserted patents against potential licensees.

         13.     Documents regarding agreements between you and WSOU, Allied Security Trust,

 AQUA Licensing, LLC, RPX Corporation, Fortress Credit Co., LLC, Houlihan, Orange

 Holdings, Wade and Company, Omega Credit Opportunities Master Fund, Terrier, Juniper

 Capital Partners, Coast Asset Management, or WCFT Cayman, regarding any asserted patent, a

 portfolio including an asserted patent, or the acquisition or potential acquisition of any portfolio

 that might have included an asserted patent, including any amendment, modification,

 supplementation, abrogation, or termination of any such agreements.

         14.     Documents regarding agreements with Nokia or other WSOU Defendants

 regarding an asserted patent or a portfolio including an asserted patent.

         15.     Communications with Nokia, Allied Security Trust, AQUA, RPX Corporation,

 Fortress Credit Co., LLC, Houlihan, WSOU, Orange Holdings, Wade and Company, Omega

 Credit Opportunities Master Fund, Terrier, Juniper Capital Partners, Coast Asset Management, or



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 WCFT Cayman regarding an asserted patent, a portfolio including an asserted patent, or actual or

 potential litigation relating to an asserted patent.

           16.   Documents concerning communications with any of the named inventors

 regarding any of the asserted patents, this litigation or Google.

           17.   Communications with WSOU regarding the asserted patent, related patents, this

 litigation or Google.

           18.   Documents concerning communications between you and any other entity relating

 to the possibility of patent litigation regarding the asserted patent and related patents, including

 any actual or potential patent litigation against Google and the WSOU v. Google Litigations.

           19.   Documents concerning any contemplated acquisition of patents or rights in

 patents from Nokia.

           20.   Documents sufficient to show any interests (current or prior) in WSOU.

           21.   Documents sufficient to show any actual, contingent, or potential (1) right to

 license or sublicense any asserted patent, (2) right to control the licensing of any asserted patent,

 or (3) right to control or be involved in the resolution of any litigation involving any asserted

 patent.

           22.   Documents sufficient to show your relationship with Stuart A. Shanus, Eric

 Schneider, Andrew Neuberger, Marc Wade, or Craig Etchegoyen, Orange Holdings, WSOU,

 Uniloc USA, Inc., WCFT Cayman, Omega Credit Opportunities Master Fund, Wade and

 Company, and Terrier, or any entity associated with the foregoing.

           23.   Documents concerning communications with Omega Credit Opportunities Master

 Fund.




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        24.        Documents concerning the “Patent Security Agreement” recorded at USPTO Reel

 09235 Frame 0068, signed May 16, 2019, the circumstances of this agreement, and any related

 agreements.

        25.        Documents concerning the value of, any valuations of or attempts to value any

 asserted patent, related patent, or related application, whether individually or in combination

 with any other patents or applications, including any portfolio containing any asserted patent or

 related patent.

        26.        Documents concerning any evaluation or analysis of any asserted patent, any

 related patent, or any related application, whether individually or in combination with any other

 patents or applications, including any evaluation or analysis of infringement, validity, or

 commercialization.

        27.        Documents produced in response to a subpoena served by any other WSOU

 Defendant.




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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT                                             20-571
                                                                            for the                             20-572
                                                                                                                20-573
                                                          Western District
                                                       __________ District of
                                                                           of Texas
                                                                              __________
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                                                                                                                20-576
                   WSOU Investments LLC                                        )                                20-579
                               Plaintiff                                       )                                20-580
                                  v.                                           )      Civil Action No.          20-583
                                                                               )                                20-584
                           Google LLC                                          )                                20-585
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:     BP Funding Trust
        c/o Wilmington Savings Fund Society, FSB, 500 Delaware Avenue, 11th Floor, Wilmington, Delaware 19801
                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Testimony:    YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
 See Exhibit A

 Place:                                                                                Date and Time:
    Basye Santiago Reporting
    1201 N. Orange Street, Suite 7013, Wilmington, Delaware 19801                       September 22, 2021

          The deposition will be recorded by this method:                    Stenographic, video and audio recording

      ’ Production: You, or your representatives, must also bring with you to the deposition the following documents,
        electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
        material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: September 7, 2021
                                   CLERK OF COURT
                                                                                         OR

                                           Signature of Clerk or Deputy Clerk                                Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                 Google LLC                                             , who issues or requests this subpoena, are:
Jennifer A. Kash, Warren Lex LLP, 2261 Market Street, San Francisco, CA 94114; jen@warrenlex.com; 415-895-2923
                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          ’ I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                              EXHIBIT A

                                            DEFINITIONS

         1.      The term “WSOU v. Google Litigations” means 6:20-cv-00571, 6:20-cv-00572,

 6:20-cv-00573, 6:20-cv-00575, 6:20-cv-00576, 6:20-cv-00579, 6:20-cv-00580, 6:20-cv-00583,

 6:20-cv-00584, 6:20-cv-00585.

         2.      The terms “WSOU,” shall mean plaintiff WSOU Investments, LLC, WSOU

 Holdings, LLC, WSOU Investments II, LLC, WSOU Capital Partners, LLC, and their officers,

 directors, principals, current and former employees, counsel, agents, consultants, representatives,

 and any other persons acting on behalf of any of the foregoing; as well as its affiliates, parents,

 divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

 and any other legal entities, whether foreign or domestic, that are owned, controlled by, or under

 common control with it, and all predecessors and successors in interest to such entities.

         3.      The term “Defendant” or “Google” shall mean Google LLC, and shall include,

 individually or collectively, any and all of its past and present officers, directors, partners,

 trustees, employees, corporate parents, subsidiaries, predecessors, affiliates, agents,

 representatives, and attorneys.

         4.      The term “BP Funding Trust” or “you” or “your” means Basepoint

 Administrative LLC and BP Funding Trust, a Delaware statutory trust; BP Funding Trust, Series

 SPL-VI, a statutory series of BP Funding Trust; and their trustees, managers, agents,

 representatives, employees, attorneys, or entities acting in conjunction, joint venture, or

 partnership with any of them including but not limited to Basepoint Capital LLC, Basepoint Tax

 Funding Trust, Venture 4th Basepoint 1, LLC, Basepoint Administrative LLC, Basepoint Asset

 Recovery LLC, or any other “Basepoint” entity or related entity thereto.



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         5.      The term “Orange” and “Orange Holdings” shall mean Orange Holdings, its

 current and former officers, directors, principals, employees, counsel, agents, consultants,

 representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

 predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.

         6.      The term “WCFT Cayman” means WCFT Cayman, its current and former

 officers, directors, employees, counsel, agents, consultants, representatives, affiliates, parents,

 divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

 any other persons acting on behalf of any of the foregoing, and any other entities that own or

 control or are owned or controlled by or share common ownership or control with any of the

 foregoing, as well as predecessors and successors in interest to such entities.

         7.      The term “Wade and Company” means Wade and Company or Wade & Company,

 its current and former officers, directors, employees, counsel, agents, consultants,

 representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

 predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.

         8.      The term “Omega Credit Opportunities Master Fund” means Omega Advisors,

 Inc.; Omega Credit Opportunities Master Fund, LP; OCO Opportunities Master Fund, L.P. (f/k/a

 Credit Opportunities Master Fund, LP), and their trustees, managers, agents, representatives,



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 employees, attorneys, or entities acting in conjunction, joint venture, or partnership with any of

 them.

         9.      The term “Nokia” means Nokia of America Corporation, Nokia Corporation,

 Nokia Networks, Nokia Abp, Nokia Solutions and Networks Holdings USA Inc., Nokia USA

 Inc., Nokia Oyj, Nokia Technologies Oyj, Nokia Solutions and Networks B.V., Nokia Solutions

 and Networks Oyj, their current and former officers, directors, principals, employees, counsel,

 agents, consultants, representatives, affiliates, parents, divisions, joint ventures, licensees,

 franchisees, assigns, predecessors and successors in interest, any other persons acting on behalf

 of any of the foregoing, and any other entities that own or control or are owned or controlled by

 or share common ownership or control with any of the foregoing (including Alcatel Lucent,

 Alcatel Lucent Enterprises, Alcatel-Lucent International, Alcatel and Lucent Technologies), as

 well as predecessors and successors in interest to such entities.

         10.     The term “AQUA” shall mean Aqua Licensing, LLC, its current and former

 officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

 parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

 interest, any other persons acting on behalf of any of the foregoing, and any other entities that

 own or control or are owned or controlled by or share common ownership or control with any of

 the foregoing, as well as predecessors and successors in interest to such entities.

         11.     The term “Houlihan” shall mean Houlihan Lokey, Inc., its current and former

 officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

 parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

 interest, any other persons acting on behalf of any of the foregoing, and any other entities that




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 own or control or are owned or controlled by or share common ownership or control with any of

 the foregoing, as well as predecessors and successors in interest to such entities.

         12.     The term “Terrier” shall mean Terrier SSC, LLC, OT WSOU Terrier Holdings,

 LLC, its current and former officers, directors, principals, employees, counsel, agents,

 consultants, representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees,

 assigns, predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.

         13.     The term “Credit Suisse” means Credit Suisse AG, Credit Suisse Group AG, its

 current and former officers, directors, employees, counsel, agents, consultants, representatives,

 affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

 successors in interest, any other persons acting on behalf of any of the foregoing, and any other

 entities that own or control or are owned or controlled by or share common ownership or control

 with any of the foregoing, as well as predecessors and successors in interest to such entities.

         14.     The term “Juniper Capital Partners” shall mean Juniper Capital Partners, LLC, its

 current and former officers, directors, principals, employees, counsel, agents, consultants,

 representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

 predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.




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         15.     The term “Coast Asset Management” shall mean Coast Asset Management, LLC,

 its current and former officers, directors, principals, employees, counsel, agents, consultants,

 representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

 predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.

         16.     The term “asserted patent” or “asserted patents” shall mean one or more of any

 patent asserted in the WSOU v. Google litigations, including without limitation, U.S. Patent Nos.

 7,620,967, 7,777,728, 7,817,858, 7,946,491, 8,041,806, 8,559,928, 8,595,283, 8,640,180,

 8,737,961, 8,803,697.

         17.     The term “affiliates” shall mean any entity, including parent companies and

 majority-owned subsidiaries, now or hereafter acquired or formed that is directly or indirectly

 controlled by a party, or is under common control with a party, or is an entity that controls a

 party, as well as all predecessors and successors of such entities. For this purpose “control”

 means direct or indirect ownership of, or the right to exercise, at least 50% of the voting power,

 or at least 50% of the ownership interest representing either the irrevocable right to name a

 majority of the members of the governing body of such entity, or the right to make binding

 decisions for the entity.

         18.     The term “related application” shall mean any patent or application related to a

 patent, including any application or other filing from which the patent claims priority, any

 foreign counterpart patents or applications, whether by continuation, continuation-in-part,

 division, reexamination, correction or re-issue, and whether issued, pending, or abandoned.



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        19.     The term “related patent” shall mean any patent, including any foreign

 counterpart patent and any patent which may have been opposed, contested or subjected to any

 nullity proceedings, that is based in whole or in part on any related application.

        20.     The term “named inventor” means any person or persons named as an inventor on

 the face of any asserted patent or related patent.

        21.     The term “accused product” shall mean any item, device, or product that WSOU

 contends infringes one or more claims of any asserted patent.

        22.     The term “asserted claim” shall mean any claim of any asserted patent that

 WSOU contends has been infringed by Google.

        23.     The terms “including” or “that includes” mean including without limitation.

        24.     The term “person” includes any individual, corporation, proprietorship,

 association, joint venture, company, partnership or other business or legal entity, including

 governmental bodies and agencies.

        25.     The term “prior patent owner” shall mean any person that owned any interest in

 the patent-in-suit or any application leading to the patent-in-suit.

        26.     The terms “concerning,” “regarding,” “relating to,” or “related to” in regard to a

 particular subject shall mean, without limitation, concerning, constituting, contradicting,

 comprising, commenting on, containing, describing, discussing, embodying, evidencing,

 identifying, involving, mentioning, pertaining to, referring to, reflecting, regarding, relating to,

 responding to, stating, supporting, tending to support or refute, relating or referring (directly or

 indirectly) to or in any way, the particular subject matter identified, in whole or in part.

        27.     The term “document,” as used herein, has the same meaning it has under Rule 34

 of the Federal Rule of Civil Procedure and includes all written, graphic or otherwise recorded



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 material, including microfilms or other film records or impressions, electronically stored

 information regardless of the form of storage medium, tape recordings or computer cards, floppy

 disks or printouts, papers, photographs, films, recordings, memoranda, books, records, accounts,

 communications, letters, telegrams, correspondence, notes of meetings, notes of conversations,

 notes of telephone calls, inter-office memoranda or written communications, recordings of

 conversations either in writing on any mechanical or electronic recording device, including

 email, notes, papers, reports, analyses, invoices, canceled checks or check stubs, receipts,

 minutes of meetings, time sheets, diaries, desk calendars, ledgers, schedules, licenses, financial

 statements, telephone bills, logs, and any differing versions of any of the foregoing, whether so

 denominated, formal, informal or otherwise, as well as copies of the foregoing which differ in

 any way, including by the addition of handwritten notations or other written or printed matter,

 from the original, and further includes information stored in a computer database and capable of

 being generated in documentary form, such as electronic mail.

        28.     “Communications” includes any transmission, conveyance or exchange of a word,

 statement, fact, thing, idea, document, instruction, information, demand or question by any

 medium, whether by written, oral or other means, including but not limited to, electronic

 communications and electronic mail.

        29.     Use of the singular also includes the plural and vice-versa.

        30.     The terms “or” and “and” shall be both conjunctive and disjunctive wherever they

 appear, and neither of these words shall be interpreted to limit the scope of these discovery

 requests.

        31.     The words “any” and “each” shall be construed to encompass the word “all.”

        32.     A verb in any tense shall mean the verb in all other tenses.



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         33.     “Other WSOU Defendants” shall mean any and all companies that WSOU has

 sued in patent litigation matters, including but not limited to ZTE Corporation, ZTE (USA), Inc.,

 ZTE (TX), Inc.; Microsoft Corporation; Dell Technologies, Inc., Dell Inc., EMC Corporation,

 VMWare, Inc.; Huawei Technologies Co., Ltd., Huawei Technologies USA Inc., Huawei Device

 (Shenzen) Co., Ltd. (f/k/a Huawei Device Co., Ltd.), Huawei Device USA, Inc., Huawei

 Investment & Holding Co., Ltd.; Hewlett Packard Enterprise Company; Juniper Enterprise

 Networks, Inc.; Xilinx, Inc.; NEC Corporation; OnePlus Technology (Shenzen) Co., Ltd.;

 Canon, Inc.; TP-Link Technology Co., Ltd.; F5 Networks, Inc.; Arista Networks, Inc.;

 Salesforce.com; Cisco Systems, Inc.; Netgear, Inc.

                                         INSTRUCTIONS

         1.      The singular form of a word should be interpreted in the plural as well. Any

 pronoun shall be construed to refer to the masculine, feminine or neutral gender as in such case is

 most appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

 whichever makes the request most inclusive. The words “any” and “each” shall be construed to

 encompass the word “all.” The past tense shall be interpreted to include the present tense where

 the meaning is not distorted and the verb form of a noun or pronoun may be used, as appropriate

 in a particular context.

         2.      In the event that you object to any document request on the ground that it is

 overbroad and/or unduly burdensome for any reason, respond to that document request as

 narrowed to the least extent necessary, in your judgment, to render it not overbroad/unduly

 burdensome and state specifically the extent to which you have narrowed that document request

 for purposes of your response.




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        3.       In the event that you object to any document request on the ground that it is vague

 and/or ambiguous, identify the particular words, terms or phrases that are asserted to make such

 request vague and/or ambiguous and specify the meaning actually attributed to you by such

 words for purposes of your response thereto.

        4.       If possible, supply all annual data requested on a calendar basis. However, if

 fiscal year data is provided, please specify the month in which the fiscal year begins and

 terminates. Where information is requested “for each year,” include the requested information

 for all prior years and also the requested information available for the current year and specify

 what portion of the current year is covered by such information.

        5.       If information requested is not readily available from your records in exactly the

 form requested, furnish the information in the form maintained by you or carefully prepared

 estimates, designated as such and attach explanations of any estimate used and how the estimate

 was prepared.

        6.       If you do not answer any request, or part thereof, because of a claim of privilege

 or any other claim, set forth the privilege claimed, the facts upon which you rely to support the

 claim or privilege and furnish a list identifying each item of information for which privilege is

 claimed, containing at least the following information:

             a. The date the document was created;

             b. The names of the owner or author(s)/sender(s) of the document;

             c. If the document is an email, the name of the recipient(s), including copy and blind

                 copy recipients;

             d. A brief description of the document and type of legal advice; and




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             e. The grounds for the claim or privilege (e.g., attorney work product,

                attorney-client communication).

        The sender(s) and recipient(s) shall be identified by position and entity (corporation or

 firm, etc.) with which they are employed or associated. If the sender or recipient is an attorney or

 foreign patent agent, he or she should be so identified. In the case of a foreign patent agent, there

 should be a statement of whether the laws of the agent’s country grant privileged status to a

 patent agent’s communication. The type of privilege claimed must also be stated, together with

 certification that all elements of the claimed privilege have been met and not waived with respect

 to each document.

        7.      Technical terms shall have their normal technical meaning. If you find the

 meaning of any term in these requests to be unclear, you must assume a reasonable meaning,

 state what the assumed meaning is, and answer on the basis of that assumed meaning. If you

 wish to clarify your interpretation of any particular term that it relied on in answering a request,

 you should do so in its answer.

        8.      To the extent that any portion of a request requires the production of documents

 that were at one time within your possession, custody, or control, but which are now in the

 possession, custody, or control of another, you are directed to identify such documents in a

 manner sufficient to describe such documents for the purpose of preparing and serving a proper

 subpoena and to give the name, telephone number, address, and e-mail address of the person last

 known by you to have been in possession, custody, or control of such documents.

                                   TOPICS FOR DEPOSITION

        1.      The subject matter of all requests for production in the concurrently served

 document subpoena.



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         2.      The authenticity of the documents produced in response to the concurrently

 served document subpoena.

         3.      The formation of BP Funding Trust.

         4.      Your relationship to NextPoint Acquisition Corp.

         5.      Your corporate structure.

         6.      Your investments or interests in the asserted patents, including assignment,

 licensing, acquisition, financial interest, security interest, lien, sale, transfer of rights (in whole or

 in part) and any other disposition of or any offers to buy, sell, obtain rights to, or licenses any of

 the asserted patents.

         7.      Discussions with NextPoint Acquisition Corp. regarding any asserted patent, a

 portfolio including an asserted patent, assignment of any interest in any asserted patent or a

 portfolio including an asserted patent, or the acquisition or potential acquisition of any portfolio

 that might have included an asserted patent.

         8.      Discussions with Terrier regarding any asserted patent, a portfolio including an

 asserted patent, assignment of any interest in any asserted patent or a portfolio including an

 asserted patent, or the acquisition or potential acquisition of any portfolio that might have

 included an asserted patent.

         9.      Agreements with Terrier concerning any potential or actual transaction regarding

 any asserted patent, a portfolio including an asserted patent, or the acquisition or potential

 acquisition of any portfolio that might have included an asserted patent.

         10.     Agreements with the named inventor(s) of any of the asserted patents, including

 assignment agreements, consulting agreements, employment agreements and any agreements

 pertaining to litigation involving the asserted patents or any related patents.



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         11.    Compensation, cost-sharing, or profit sharing agreements with any of the named

 inventor(s) of the asserted patent(s).

         12.    The assignment, licensing, acquisition, financial interest, security interest, lien,

 sale, transfer of rights (in whole or in part) and any other disposition of or any offers to buy, sell,

 obtain rights to, or licenses any of the asserted patents.

         13.    The nature and scope of any rights you had in the past or currently have in each of

 the asserted patents, related applications or related patents from the time each alleged invention

 was conceived through the present, including the right to control any portion of litigation, future

 royalties, payment for licenses, contingent rights, or payments depending on the outcome of

 litigation.

         14.    Agreements relating to each of the asserted patents (or any portfolio including any

 of the asserted patents), including assurances, covenants not to sue and understandings not to

 assert any of the asserted patents against potential licensees.

         15.    Agreements between you and WSOU, Allied Security Trust, AQUA Licensing,

 LLC, RPX Corporation, Fortress Credit Co., LLC, Houlihan, Orange Holdings, Wade and

 Company, Omega Credit Opportunities Master Fund, Terrier, Juniper Capital Partners, Coast

 Asset Management, or WCFT Cayman, regarding any asserted patent, a portfolio including an

 asserted patent, or the acquisition or potential acquisition of any portfolio that might have

 included an asserted patent, including any amendment, modification, supplementation,

 abrogation, or termination of any such agreements.

         16.    Agreements with Nokia or other WSOU Defendants regarding an asserted patent

 or a portfolio including an asserted patent.




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         17.     Communications with Nokia, Allied Security Trust, AQUA, RPX Corporation,

 Fortress Credit Co., LLC, Houlihan, WSOU, Orange Holdings, Wade and Company, Omega

 Credit Opportunities Master Fund, Terrier, Juniper Capital Partners, Coast Asset Management, or

 WCFT Cayman regarding an asserted patent, a portfolio including an asserted patent, or actual or

 potential litigation relating to an asserted patent.

         18.     Communications with any of the named inventors regarding any of the asserted

 patents, this litigation or Google.

         19.     Communications with WSOU regarding the asserted patent, related patents, this

 litigation or Google.

         20.     Communications between you and any other entity relating to the possibility of

 patent litigation regarding the asserted patent and related patents, including any actual or

 potential patent litigation against Google and the WSOU v. Google Litigations.

         21.     Any contemplated acquisition of patents or rights in patents from Nokia.

         22.     Any interests (current or prior) in WSOU.

         23.     Any actual, contingent, or potential (1) right to license or sublicense any asserted

 patent, (2) right to control the licensing of any asserted patent, or (3) right to control or be

 involved in the resolution of any litigation involving any asserted patent.

         24.     Your relationship with Stuart A. Shanus, Eric Schneider, Andrew Neuberger,

 Marc Wade, or Craig Etchegoyen, Orange Holdings, WSOU, Uniloc USA, Inc., WCFT Cayman,

 Omega Credit Opportunities Master Fund, Wade and Company, and Terrier, or or any entity

 associated with the foregoing.

         25.     Communications with Omega Credit Opportunities Master Fund.




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        26.     The “Patent Security Agreement” recorded at USPTO Reel 09235 Frame 0068,

 signed May 16, 2019, the circumstances of this agreement, and any related agreements.

        27.     The value of, any valuations of or attempts to value any asserted patent, related

 patent, or related application, whether individually or in combination with any other patents or

 applications, including of any portfolio containing any asserted patent or related patent.

        28.     Any evaluation or analysis of any asserted patent, any related patent, or any

 related application, whether individually or in combination with any other patents or

 applications, including any evaluation or analysis of infringement, validity, or

 commercialization.

        29.     Responses to subpoenas served by any other WSOU Defendant.




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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

                                                                                                                         20-571
                                       UNITED STATES DISTRICT COURT                                                      20-572
                                                                           for the                                       20-573
                                                                                                                         20-575
                                                          Western District
                                                       __________ District of
                                                                           of Texas
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                    WSOU Investments LLC                                      )                                          20-580
                               Plaintiff                                      )                                          20-583
                                  v.                                          )        Civil Action No.                  20-584
                                                                              )                                          20-585
                          Google LLC                                          )        (If the action is pending in another district, state where:
                              Defendant                                       )              __________ District of __________                 )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Terrier SSC
        c/o VCORP Services, LLC, 1013 Centre Road, Suite 403-B, Wilmington, Delaware 19805
    ✔ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
    ’
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material:
  See Exhibit A


 Place:                                                                                 Date and Time:
         Basye Santiago Reporting                                      September 22, 2021
         1201 N. Orange Street, Suite 7013, Wilmington, Delaware 19801


     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.

Date: September 7, 2021

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail, and telephone number of the attorney representing (name of party)
                     Google LLC                                         , who issues or requests this subpoena, are:


Jennifer A. Kash, Warren Lex LLP, 2261 Market Street, San Francisco, CA 94114; jen@warrenlex.com; 415-895-2923
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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                   .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                               on (date)                               ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc:
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                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored information:
person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
earnings and reasonable attorney’s fees — on a party or attorney                  course of business or must organize and label them to correspond to
who fails to comply.                                                              the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the            produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                 in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                 (C) Electronically Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                     Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                 electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                           (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or           responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                 accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14              discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and            (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s               (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                           protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim; and
quash or modify a subpoena that:                                                     (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party’s officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                 (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by              reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert’s study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur         subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
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                                              EXHIBIT A

                                            DEFINITIONS

         1.      The term “WSOU v. Google Litigations” means 6:20-cv-00571, 6:20-cv-00572,

 6:20-cv-00573, 6:20-cv-00575, 6:20-cv-00576, 6:20-cv-00579, 6:20-cv-00580, 6:20-cv-00583,

 6:20-cv-00584, 6:20-cv-00585.

         2.      The terms “WSOU,” shall mean plaintiff WSOU Investments, LLC, WSOU

 Holdings, LLC, WSOU Investments II, LLC, WSOU Capital Partners, LLC, and their officers,

 directors, principals, current and former employees, counsel, agents, consultants, representatives,

 and any other persons acting on behalf of any of the foregoing; as well as its affiliates, parents,

 divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

 and any other legal entities, whether foreign or domestic, that are owned, controlled by, or under

 common control with it, and all predecessors and successors in interest to such entities.

         3.      The term “Defendant” or “Google” shall mean Google LLC, and shall include,

 individually or collectively, any and all of its past and present officers, directors, partners,

 trustees, employees, corporate parents, subsidiaries, predecessors, affiliates, agents,

 representatives, and attorneys.

         4.      The term “Terrier” or “you” or “your” shall mean Terrier SSC, LLC, OT WSOU

 Terrier Holdings, LLC; its current and former officers, directors, principals, employees, counsel,

 agents, consultants, representatives, affiliates, parents, divisions, joint ventures, licensees,

 franchisees, assigns, predecessors and successors in interest, any other persons acting on behalf

 of any of the foregoing, and any other entities that own or control or are owned or controlled by

 or share common ownership or control with any of the foregoing, as well as predecessors and

 successors in interest to such entities.




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         5.      The term “Orange” and “Orange Holdings” shall mean Orange Holdings, its

 current and former officers, directors, principals, employees, counsel, agents, consultants,

 representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

 predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.

         6.      The term “WCFT Cayman” means WCFT Cayman, its current and former

 officers, directors, employees, counsel, agents, consultants, representatives, affiliates, parents,

 divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

 any other persons acting on behalf of any of the foregoing, and any other entities that own or

 control or are owned or controlled by or share common ownership or control with any of the

 foregoing, as well as predecessors and successors in interest to such entities.

         7.      The term “Wade and Company” means Wade and Company or Wade & Company,

 its current and former officers, directors, employees, counsel, agents, consultants,

 representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

 predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.

         8.      The term “Omega Credit Opportunities Master Fund” means Omega Advisors,

 Inc.; Omega Credit Opportunities Master Fund, LP; OCO Opportunities Master Fund, L.P. (f/k/a

 Credit Opportunities Master Fund, LP), and their trustees, managers, agents, representatives,




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 employees, attorneys, or entities acting in conjunction, joint venture, or partnership with any of

 them.

         9.      The term “Nokia” means Nokia of America Corporation, Nokia Corporation,

 Nokia Networks, Nokia Abp, Nokia Solutions and Networks Holdings USA Inc., Nokia USA

 Inc., Nokia Oyj, Nokia Technologies Oyj, Nokia Solutions and Networks B.V., Nokia Solutions

 and Networks Oyj, their current and former officers, directors, principals, employees, counsel,

 agents, consultants, representatives, affiliates, parents, divisions, joint ventures, licensees,

 franchisees, assigns, predecessors and successors in interest, any other persons acting on behalf

 of any of the foregoing, and any other entities that own or control or are owned or controlled by

 or share common ownership or control with any of the foregoing (including Alcatel Lucent,

 Alcatel Lucent Enterprises, Alcatel-Lucent International, Alcatel and Lucent Technologies), as

 well as predecessors and successors in interest to such entities.

         10.     The term “AQUA” shall mean Aqua Licensing, LLC, its current and former

 officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

 parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

 interest, any other persons acting on behalf of any of the foregoing, and any other entities that

 own or control or are owned or controlled by or share common ownership or control with any of

 the foregoing, as well as predecessors and successors in interest to such entities.

         11.     The term “Houlihan” shall mean Houlihan Lokey, Inc., its current and former

 officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

 parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

 interest, any other persons acting on behalf of any of the foregoing, and any other entities that




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 own or control or are owned or controlled by or share common ownership or control with any of

 the foregoing, as well as predecessors and successors in interest to such entities.

         12.     The term “BP Funding Trust” means Basepoint Administrative LLC and BP

 Funding Trust, a Delaware statutory trust; BP Funding Trust, Series SPL-VI, a statutory series of

 BP Funding Trust; and their trustees, managers, agents, representatives, employees, attorneys, or

 entities acting in conjunction, joint venture, or partnership with any of them including but not

 limited to Basepoint Capital LLC, Basepoint Tax Funding Trust, Venture 4th Basepoint 1, LLC,

 Basepoint Administrative LLC, Basepoint Asset Recovery LLC, or any other “Basepoint” entity

 or related entity thereto.

         13.     The term “Credit Suisse” means Credit Suisse AG, Credit Suisse Group AG, its

 current and former officers, directors, employees, counsel, agents, consultants, representatives,

 affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

 successors in interest, any other persons acting on behalf of any of the foregoing, and any other

 entities that own or control or are owned or controlled by or share common ownership or control

 with any of the foregoing, as well as predecessors and successors in interest to such entities.

         14.     The term “Juniper Capital Partners” shall mean Juniper Capital Partners, LLC, its

 current and former officers, directors, principals, employees, counsel, agents, consultants,

 representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

 predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.




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         15.     The term “Coast Asset Management” shall mean Coast Asset Management, LLC,

 its current and former officers, directors, principals, employees, counsel, agents, consultants,

 representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

 predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.

         16.     The term “asserted patent” or “asserted patents” shall mean one or more of any

 patent asserted in the WSOU v. Google litigations, including without limitation, U.S. Patent Nos.

 7,620,967, 7,777,728, 7,817,858, 7,946,491, 8,041,806, 8,559,928, 8,595,283, 8,640,180,

 8,737,961, 8,803,697.

         17.     The term “affiliates” shall mean any entity, including parent companies and

 majority-owned subsidiaries, now or hereafter acquired or formed that is directly or indirectly

 controlled by a party, or is under common control with a party, or is an entity that controls a

 party, as well as all predecessors and successors of such entities. For this purpose “control”

 means direct or indirect ownership of, or the right to exercise, at least 50% of the voting power,

 or at least 50% of the ownership interest representing either the irrevocable right to name a

 majority of the members of the governing body of such entity, or the right to make binding

 decisions for the entity.

         18.     The term “related application” shall mean any patent or application related to a

 patent, including any application or other filing from which the patent claims priority, any

 foreign counterpart patents or applications, whether by continuation, continuation-in-part,

 division, reexamination, correction or re-issue, and whether issued, pending, or abandoned.




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        19.     The term “related patent” shall mean any patent, including any foreign

 counterpart patent and any patent which may have been opposed, contested or subjected to any

 nullity proceedings, that is based in whole or in part on any related application.

        20.     The term “named inventor” means any person or persons named as an inventor on

 the face of any asserted patent or related patent.

        21.     The term “accused product” shall mean any item, device, or product that WSOU

 contends infringes one or more claims of any asserted patent.

        22.     The term “asserted claim” shall mean any claim of any asserted patent that

 WSOU contends has been infringed by Google.

        23.     The terms “including” or “that includes” mean including without limitation.

        24.     The term “person” includes any individual, corporation, proprietorship,

 association, joint venture, company, partnership or other business or legal entity, including

 governmental bodies and agencies.

        25.     The term “prior patent owner” shall mean any person that owned any interest in

 the patent-in-suit or any application leading to the patent-in-suit.

        26.     The terms “concerning,” “regarding,” “relating to,” or “related to” in regard to a

 particular subject shall mean, without limitation, concerning, constituting, contradicting,

 comprising, commenting on, containing, describing, discussing, embodying, evidencing,

 identifying, involving, mentioning, pertaining to, referring to, reflecting, regarding, relating to,

 responding to, stating, supporting, tending to support or refute, relating or referring (directly or

 indirectly) to or in any way, the particular subject matter identified, in whole or in part.

        27.     The term “document,” as used herein, has the same meaning it has under Rule 34

 of the Federal Rule of Civil Procedure and includes all written, graphic or otherwise recorded




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 material, including microfilms or other film records or impressions, electronically stored

 information regardless of the form of storage medium, tape recordings or computer cards, floppy

 disks or printouts, papers, photographs, films, recordings, memoranda, books, records, accounts,

 communications, letters, telegrams, correspondence, notes of meetings, notes of conversations,

 notes of telephone calls, inter-office memoranda or written communications, recordings of

 conversations either in writing on any mechanical or electronic recording device, including

 email, notes, papers, reports, analyses, invoices, canceled checks or check stubs, receipts,

 minutes of meetings, time sheets, diaries, desk calendars, ledgers, schedules, licenses, financial

 statements, telephone bills, logs, and any differing versions of any of the foregoing, whether so

 denominated, formal, informal or otherwise, as well as copies of the foregoing which differ in

 any way, including by the addition of handwritten notations or other written or printed matter,

 from the original, and further includes information stored in a computer database and capable of

 being generated in documentary form, such as electronic mail.

        28.     “Communications” includes any transmission, conveyance or exchange of a word,

 statement, fact, thing, idea, document, instruction, information, demand or question by any

 medium, whether by written, oral or other means, including but not limited to, electronic

 communications and electronic mail.

        29.     Use of the singular also includes the plural and vice-versa.

        30.     The terms “or” and “and” shall be both conjunctive and disjunctive wherever they

 appear, and neither of these words shall be interpreted to limit the scope of these discovery

 requests.

        31.     The words “any” and “each” shall be construed to encompass the word “all.”

        32.     A verb in any tense shall mean the verb in all other tenses.




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         33.     “Other WSOU Defendants” shall mean any and all companies that WSOU has

 sued in patent litigation matters, including but not limited to ZTE Corporation, ZTE (USA), Inc.,

 ZTE (TX), Inc.; Microsoft Corporation; Dell Technologies, Inc., Dell Inc., EMC Corporation,

 VMWare, Inc.; Huawei Technologies Co., Ltd., Huawei Technologies USA Inc., Huawei Device

 (Shenzen) Co., Ltd. (f/k/a Huawei Device Co., Ltd.), Huawei Device USA, Inc., Huawei

 Investment & Holding Co., Ltd.; Hewlett Packard Enterprise Company; Juniper Enterprise

 Networks, Inc.; Xilinx, Inc.; NEC Corporation; OnePlus Technology (Shenzen) Co., Ltd.;

 Canon, Inc.; TP-Link Technology Co., Ltd.; F5 Networks, Inc.; Arista Networks, Inc.;

 Salesforce.com; Cisco Systems, Inc.; Netgear, Inc.

                                         INSTRUCTIONS

         1.      The singular form of a word should be interpreted in the plural as well. Any

 pronoun shall be construed to refer to the masculine, feminine or neutral gender as in such case is

 most appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

 whichever makes the request most inclusive. The words “any” and “each” shall be construed to

 encompass the word “all.” The past tense shall be interpreted to include the present tense where

 the meaning is not distorted and the verb form of a noun or pronoun may be used, as appropriate

 in a particular context.

         2.      In the event that you object to any document request on the ground that it is

 overbroad and/or unduly burdensome for any reason, respond to that document request as

 narrowed to the least extent necessary, in your judgment, to render it not overbroad/unduly

 burdensome and state specifically the extent to which you have narrowed that document request

 for purposes of your response.




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        3.       In the event that you object to any document request on the ground that it is vague

 and/or ambiguous, identify the particular words, terms or phrases that are asserted to make such

 request vague and/or ambiguous and specify the meaning actually attributed to you by such

 words for purposes of your response thereto.

        4.       If possible, supply all annual data requested on a calendar basis. However, if

 fiscal year data is provided, please specify the month in which the fiscal year begins and

 terminates. Where information is requested “for each year,” include the requested information

 for all prior years and also the requested information available for the current year and specify

 what portion of the current year is covered by such information.

        5.       If information requested is not readily available from your records in exactly the

 form requested, furnish the information in the form maintained by you or carefully prepared

 estimates, designated as such and attach explanations of any estimate used and how the estimate

 was prepared.

        6.       If you do not answer any request, or part thereof, because of a claim of privilege

 or any other claim, set forth the privilege claimed, the facts upon which you rely to support the

 claim or privilege and furnish a list identifying each item of information for which privilege is

 claimed, containing at least the following information:

             a. The date the document was created;

             b. The names of the owner or author(s)/sender(s) of the document;

             c. If the document is an email, the name of the recipient(s), including copy and blind

                 copy recipients;

             d. A brief description of the document and type of legal advice; and




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             e. The grounds for the claim or privilege (e.g., attorney work product,

                attorney-client communication).

        The sender(s) and recipient(s) shall be identified by position and entity (corporation or

 firm, etc.) with which they are employed or associated. If the sender or recipient is an attorney or

 foreign patent agent, he or she should be so identified. In the case of a foreign patent agent, there

 should be a statement of whether the laws of the agent’s country grant privileged status to a

 patent agent’s communication. The type of privilege claimed must also be stated, together with

 certification that all elements of the claimed privilege have been met and not waived with respect

 to each document.

        7.      Technical terms shall have their normal technical meaning. If you find the

 meaning of any term in these requests to be unclear, you must assume a reasonable meaning,

 state what the assumed meaning is, and answer on the basis of that assumed meaning. If you

 wish to clarify your interpretation of any particular term that it relied on in answering a request,

 you should do so in its answer.

        8.      To the extent that any portion of a request requires the production of documents

 that were at one time within your possession, custody, or control, but which are now in the

 possession, custody, or control of another, you are directed to identify such documents in a

 manner sufficient to describe such documents for the purpose of preparing and serving a proper

 subpoena and to give the name, telephone number, address, and e-mail address of the person last

 known by you to have been in possession, custody, or control of such documents.

                                REQUESTS FOR PRODUCTION

        1.      Documents concerning the formation of Terrier.

        2.      Documents concerning the formation of OT WSOU Terrier Holdings, LLC.




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         3.      Documents concerning your corporate structure.

         4.      Documents concerning your investments or interests in the asserted patents,

 including assignment, licensing, acquisition, financial interest, security interest, lien, sale,

 transfer of rights (in whole or in part) and any other disposition of or any offers to buy, sell,

 obtain rights to, or licenses any of the asserted patents.

         5.      Documents concerning discussions with BP Funding Trust regarding any asserted

 patent, a portfolio including an asserted patent, assignment of any interest in any asserted patent

 or a portfolio including an asserted patent, or the acquisition or potential acquisition of any

 portfolio that might have included an asserted patent.

         6.      Agreements with BP Funding Trust concerning any potential or actual transaction

 regarding any asserted patent, a portfolio including an asserted patent, or the acquisition or

 potential acquisition of any portfolio that might have included an asserted patent.

         7.      Agreements with the named inventor(s) of any of the asserted patents, including

 assignment agreements, consulting agreements, employment agreements and any agreements

 pertaining to litigation involving the asserted patents or any related patents.

         8.      Compensation, cost-sharing, or profit sharing agreements with any of the named

 inventor(s) of the asserted patent(s).

         9.      Documents regarding the assignment, licensing, acquisition, financial interest,

 security interest, lien, sale, transfer of rights (in whole or in part) and any other disposition of or

 any offers to buy, sell, obtain rights to, or licenses any of the asserted patents.

         10.     Documents concerning the nature and scope of any rights you had in the past or

 currently have in each of the asserted patents, related applications or related patents from the

 time each alleged invention was conceived through the present, including the right to control any




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 portion of litigation, future royalties, payment for licenses, contingent rights, or payments

 depending on the outcome of litigation.

         11.     Documents regarding agreements relating to each of the asserted patents (or any

 portfolio including any of the asserted patents), including assurances, covenants not to sue and

 understandings not to assert any of the asserted patents against potential licensees.

         12.     Documents regarding agreements between you and WSOU, Allied Security Trust,

 AQUA Licensing, LLC, RPX Corporation, Fortress Credit Co., LLC, Houlihan, Orange

 Holdings, Wade and Company, Omega Credit Opportunities Master Fund, BP Funding Trust,

 Juniper Capital Partners, Coast Asset Management, or WCFT Cayman, regarding any asserted

 patent, a portfolio including an asserted patent, or the acquisition or potential acquisition of any

 portfolio that might have included an asserted patent, including any amendment, modification,

 supplementation, abrogation, or termination of any such agreements.

         13.     Documents regarding agreements with Nokia or other WSOU Defendants

 regarding an asserted patent or a portfolio including an asserted patent.

         14.     Communications with Nokia, Allied Security Trust, AQUA, RPX Corporation,

 Fortress Credit Co., LLC, Houlihan, WSOU, Orange Holdings, Wade and Company, Omega

 Credit Opportunities Master Fund, BP Funding Trust, Juniper Capital Partners, Coast Asset

 Management, or WCFT Cayman regarding an asserted patent, a portfolio including an asserted

 patent, or actual or potential litigation relating to an asserted patent.

         15.     Documents concerning communications with any of the named inventors

 regarding any of the asserted patents, this litigation or Google.

         16.     Communications with WSOU regarding the asserted patent, related patents, this

 litigation or Google.




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           17.   Documents concerning communications between you and any other entity relating

 to the possibility of patent litigation regarding the asserted patent and related patents, including

 any actual or potential patent litigation against Google and the WSOU v. Google Litigations.

           18.   Documents concerning the formation of WSOU.

           19.   Documents concerning any contemplated acquisition of patents or rights in

 patents from Nokia.

           20.   Documents sufficient to show any interests (current or prior) in WSOU.

           21.   Documents sufficient to show any actual, contingent, or potential (1) right to

 license or sublicense any asserted patent, (2) right to control the licensing of any asserted patent,

 or (3) right to control or be involved in the resolution of any litigation involving any asserted

 patent.

           22.   Documents sufficient to show your relationship with Stuart A. Shanus, Eric

 Schneider, Andrew Neuberger, Marc Wade, or Craig Etchegoyen, Orange Holdings, WSOU,

 Uniloc USA, Inc., WCFT Cayman, Omega Credit Opportunities Master Fund, Wade and

 Company, and BP Funding Trust, or any entity associated with the foregoing.

           23.   Documents concerning the “Patent Security Agreement” recorded at USPTO Reel

 09235 Frame 0068, signed May 16, 2019, the circumstances of this agreement, and any related

 agreements.

           24.   Documents concerning the May 16, 2019 “Patent Security Agreement” and any

 related agreements, including the circumstances surrounding the recorded release of your

 security interest regarding the “Patent Security Agreement.”




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        25.        Documents concerning the release of your security interest, recorded June 3,

 2021, at USPTO Reel 056526 Frame 0093, the circumstances of this agreement, and any related

 agreements.

        26.        Documents concerning the value of, any valuations of or attempts to value any

 asserted patent, related patent, or related application, whether individually or in combination

 with any other patents or applications, including any portfolio containing any asserted patent or

 related patent.

        27.        Documents concerning any evaluation or analysis of any asserted patent, any

 related patent, or any related application, whether individually or in combination with any other

 patents or applications, including any evaluation or analysis of infringement, validity, or

 commercialization.

        28.        Documents produced in response to a subpoena served by any other WSOU

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                   WSOU Investments LLC                                        )                               20-579
                               Plaintiff                                       )                               20-580
                                  v.                                           )      Civil Action No.         20-583
                                                                               )                               20-584
                                                                                                               20-585
                          Google LLC                                           )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:      Terrier SSC
         c/o VCORP Services, LLC, 1013 Centre Road, Suite 403-B, Wilmington, Delaware 19805
                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Testimony:    YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
  See Exhibit A

 Place:                                                                                Date and Time:
       Basye Santiago Reporting
                                                                                        September 22, 2021
       1201 N. Orange Street, Suite 7013, Wilmington, Delaware 19801

          The deposition will be recorded by this method: stenographic, video and audio recording

      ’ Production: You, or your representatives, must also bring with you to the deposition the following documents,
        electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
        material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: September 7, 2021
                                   CLERK OF COURT
                                                                                         OR

                                           Signature of Clerk or Deputy Clerk                                Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                     Google LLC                                         , who issues or requests this subpoena, are:
Jennifer A. Kash, Warren Lex LLP, 2261 Market Street, San Francisco, CA 94114; jen@warrenlex.com; 415-895-2923
                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          ’ I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                              EXHIBIT A

                                            DEFINITIONS

         1.      The term “WSOU v. Google Litigations” means 6:20-cv-00571, 6:20-cv-00572,

 6:20-cv-00573, 6:20-cv-00575, 6:20-cv-00576, 6:20-cv-00579, 6:20-cv-00580, 6:20-cv-00583,

 6:20-cv-00584, 6:20-cv-00585.

         2.      The terms “WSOU,” shall mean plaintiff WSOU Investments, LLC, WSOU

 Holdings, LLC, WSOU Investments II, LLC, WSOU Capital Partners, LLC, and their officers,

 directors, principals, current and former employees, counsel, agents, consultants, representatives,

 and any other persons acting on behalf of any of the foregoing; as well as its affiliates, parents,

 divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

 and any other legal entities, whether foreign or domestic, that are owned, controlled by, or under

 common control with it, and all predecessors and successors in interest to such entities.

         3.      The term “Defendant” or “Google” shall mean Google LLC, and shall include,

 individually or collectively, any and all of its past and present officers, directors, partners,

 trustees, employees, corporate parents, subsidiaries, predecessors, affiliates, agents,

 representatives, and attorneys.

         4.      The term “Terrier” or “you” or “your” shall mean Terrier SSC, LLC, OT WSOU

 Terrier Holdings, LLC; its current and former officers, directors, principals, employees, counsel,

 agents, consultants, representatives, affiliates, parents, divisions, joint ventures, licensees,

 franchisees, assigns, predecessors and successors in interest, any other persons acting on behalf

 of any of the foregoing, and any other entities that own or control or are owned or controlled by

 or share common ownership or control with any of the foregoing, as well as predecessors and

 successors in interest to such entities.




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         5.      The term “Orange” and “Orange Holdings” shall mean Orange Holdings, its

 current and former officers, directors, principals, employees, counsel, agents, consultants,

 representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

 predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.

         6.      The term “WCFT Cayman” means WCFT Cayman, its current and former

 officers, directors, employees, counsel, agents, consultants, representatives, affiliates, parents,

 divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

 any other persons acting on behalf of any of the foregoing, and any other entities that own or

 control or are owned or controlled by or share common ownership or control with any of the

 foregoing, as well as predecessors and successors in interest to such entities.

         7.      The term “Wade and Company” means Wade and Company or Wade & Company,

 its current and former officers, directors, employees, counsel, agents, consultants,

 representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

 predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.

         8.      The term “Omega Credit Opportunities Master Fund” means Omega Advisors,

 Inc.; Omega Credit Opportunities Master Fund, LP; OCO Opportunities Master Fund, L.P. (f/k/a

 Credit Opportunities Master Fund, LP), and their trustees, managers, agents, representatives,




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 employees, attorneys, or entities acting in conjunction, joint venture, or partnership with any of

 them.

         9.      The term “Nokia” means Nokia of America Corporation, Nokia Corporation,

 Nokia Networks, Nokia Abp, Nokia Solutions and Networks Holdings USA Inc., Nokia USA

 Inc., Nokia Oyj, Nokia Technologies Oyj, Nokia Solutions and Networks B.V., Nokia Solutions

 and Networks Oyj, their current and former officers, directors, principals, employees, counsel,

 agents, consultants, representatives, affiliates, parents, divisions, joint ventures, licensees,

 franchisees, assigns, predecessors and successors in interest, any other persons acting on behalf

 of any of the foregoing, and any other entities that own or control or are owned or controlled by

 or share common ownership or control with any of the foregoing (including Alcatel Lucent,

 Alcatel Lucent Enterprises, Alcatel-Lucent International, Alcatel and Lucent Technologies), as

 well as predecessors and successors in interest to such entities.

         10.     The term “AQUA” shall mean Aqua Licensing, LLC, its current and former

 officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

 parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

 interest, any other persons acting on behalf of any of the foregoing, and any other entities that

 own or control or are owned or controlled by or share common ownership or control with any of

 the foregoing, as well as predecessors and successors in interest to such entities.

         11.     The term “Houlihan” shall mean Houlihan Lokey, Inc., its current and former

 officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

 parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

 interest, any other persons acting on behalf of any of the foregoing, and any other entities that




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 own or control or are owned or controlled by or share common ownership or control with any of

 the foregoing, as well as predecessors and successors in interest to such entities.

         12.     The term “BP Funding Trust” means Basepoint Administrative LLC and BP

 Funding Trust, a Delaware statutory trust; BP Funding Trust, Series SPL-VI, a statutory series of

 BP Funding Trust; and their trustees, managers, agents, representatives, employees, attorneys, or

 entities acting in conjunction, joint venture, or partnership with any of them including but not

 limited to Basepoint Capital LLC, Basepoint Tax Funding Trust, Venture 4th Basepoint 1, LLC,

 Basepoint Administrative LLC, Basepoint Asset Recovery LLC, or any other “Basepoint” entity

 or related entity thereto.

         13.     The term “Credit Suisse” means Credit Suisse AG, Credit Suisse Group AG, its

 current and former officers, directors, employees, counsel, agents, consultants, representatives,

 affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

 successors in interest, any other persons acting on behalf of any of the foregoing, and any other

 entities that own or control or are owned or controlled by or share common ownership or control

 with any of the foregoing, as well as predecessors and successors in interest to such entities.

         14.     The term “Juniper Capital Partners” shall mean Juniper Capital Partners, LLC, its

 current and former officers, directors, principals, employees, counsel, agents, consultants,

 representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

 predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.




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         15.     The term “Coast Asset Management” shall mean Coast Asset Management, LLC,

 its current and former officers, directors, principals, employees, counsel, agents, consultants,

 representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

 predecessors and successors in interest, any other persons acting on behalf of any of the

 foregoing, and any other entities that own or control or are owned or controlled by or share

 common ownership or control with any of the foregoing, as well as predecessors and successors

 in interest to such entities.

         16.     The term “asserted patent” or “asserted patents” shall mean one or more of any

 patent asserted in the WSOU v. Google litigations, including without limitation, U.S. Patent Nos.

 7,620,967, 7,777,728, 7,817,858, 7,946,491, 8,041,806, 8,559,928, 8,595,283, 8,640,180,

 8,737,961, 8,803,697.

         17.     The term “affiliates” shall mean any entity, including parent companies and

 majority-owned subsidiaries, now or hereafter acquired or formed that is directly or indirectly

 controlled by a party, or is under common control with a party, or is an entity that controls a

 party, as well as all predecessors and successors of such entities. For this purpose “control”

 means direct or indirect ownership of, or the right to exercise, at least 50% of the voting power,

 or at least 50% of the ownership interest representing either the irrevocable right to name a

 majority of the members of the governing body of such entity, or the right to make binding

 decisions for the entity.

         18.     The term “related application” shall mean any patent or application related to a

 patent, including any application or other filing from which the patent claims priority, any

 foreign counterpart patents or applications, whether by continuation, continuation-in-part,

 division, reexamination, correction or re-issue, and whether issued, pending, or abandoned.




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        19.     The term “related patent” shall mean any patent, including any foreign

 counterpart patent and any patent which may have been opposed, contested or subjected to any

 nullity proceedings, that is based in whole or in part on any related application.

        20.     The term “named inventor” means any person or persons named as an inventor on

 the face of any asserted patent or related patent.

        21.     The term “accused product” shall mean any item, device, or product that WSOU

 contends infringes one or more claims of any asserted patent.

        22.     The term “asserted claim” shall mean any claim of any asserted patent that

 WSOU contends has been infringed by Google.

        23.     The terms “including” or “that includes” mean including without limitation.

        24.     The term “person” includes any individual, corporation, proprietorship,

 association, joint venture, company, partnership or other business or legal entity, including

 governmental bodies and agencies.

        25.     The term “prior patent owner” shall mean any person that owned any interest in

 the patent-in-suit or any application leading to the patent-in-suit.

        26.     The terms “concerning,” “regarding,” “relating to,” or “related to” in regard to a

 particular subject shall mean, without limitation, concerning, constituting, contradicting,

 comprising, commenting on, containing, describing, discussing, embodying, evidencing,

 identifying, involving, mentioning, pertaining to, referring to, reflecting, regarding, relating to,

 responding to, stating, supporting, tending to support or refute, relating or referring (directly or

 indirectly) to or in any way, the particular subject matter identified, in whole or in part.

        27.     The term “document,” as used herein, has the same meaning it has under Rule 34

 of the Federal Rule of Civil Procedure and includes all written, graphic or otherwise recorded




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 material, including microfilms or other film records or impressions, electronically stored

 information regardless of the form of storage medium, tape recordings or computer cards, floppy

 disks or printouts, papers, photographs, films, recordings, memoranda, books, records, accounts,

 communications, letters, telegrams, correspondence, notes of meetings, notes of conversations,

 notes of telephone calls, inter-office memoranda or written communications, recordings of

 conversations either in writing on any mechanical or electronic recording device, including

 email, notes, papers, reports, analyses, invoices, canceled checks or check stubs, receipts,

 minutes of meetings, time sheets, diaries, desk calendars, ledgers, schedules, licenses, financial

 statements, telephone bills, logs, and any differing versions of any of the foregoing, whether so

 denominated, formal, informal or otherwise, as well as copies of the foregoing which differ in

 any way, including by the addition of handwritten notations or other written or printed matter,

 from the original, and further includes information stored in a computer database and capable of

 being generated in documentary form, such as electronic mail.

        28.     “Communications” includes any transmission, conveyance or exchange of a word,

 statement, fact, thing, idea, document, instruction, information, demand or question by any

 medium, whether by written, oral or other means, including but not limited to, electronic

 communications and electronic mail.

        29.     Use of the singular also includes the plural and vice-versa.

        30.     The terms “or” and “and” shall be both conjunctive and disjunctive wherever they

 appear, and neither of these words shall be interpreted to limit the scope of these discovery

 requests.

        31.     The words “any” and “each” shall be construed to encompass the word “all.”

        32.     A verb in any tense shall mean the verb in all other tenses.




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         33.     “Other WSOU Defendants” shall mean any and all companies that WSOU has

 sued in patent litigation matters, including but not limited to ZTE Corporation, ZTE (USA), Inc.,

 ZTE (TX), Inc.; Microsoft Corporation; Dell Technologies, Inc., Dell Inc., EMC Corporation,

 VMWare, Inc.; Huawei Technologies Co., Ltd., Huawei Technologies USA Inc., Huawei Device

 (Shenzen) Co., Ltd. (f/k/a Huawei Device Co., Ltd.), Huawei Device USA, Inc., Huawei

 Investment & Holding Co., Ltd.; Hewlett Packard Enterprise Company; Juniper Enterprise

 Networks, Inc.; Xilinx, Inc.; NEC Corporation; OnePlus Technology (Shenzen) Co., Ltd.;

 Canon, Inc.; TP-Link Technology Co., Ltd.; F5 Networks, Inc.; Arista Networks, Inc.;

 Salesforce.com; Cisco Systems, Inc.; Netgear, Inc.

                                         INSTRUCTIONS

         1.      The singular form of a word should be interpreted in the plural as well. Any

 pronoun shall be construed to refer to the masculine, feminine or neutral gender as in such case is

 most appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

 whichever makes the request most inclusive. The words “any” and “each” shall be construed to

 encompass the word “all.” The past tense shall be interpreted to include the present tense where

 the meaning is not distorted and the verb form of a noun or pronoun may be used, as appropriate

 in a particular context.

         2.      In the event that you object to any document request on the ground that it is

 overbroad and/or unduly burdensome for any reason, respond to that document request as

 narrowed to the least extent necessary, in your judgment, to render it not overbroad/unduly

 burdensome and state specifically the extent to which you have narrowed that document request

 for purposes of your response.




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        3.       In the event that you object to any document request on the ground that it is vague

 and/or ambiguous, identify the particular words, terms or phrases that are asserted to make such

 request vague and/or ambiguous and specify the meaning actually attributed to you by such

 words for purposes of your response thereto.

        4.       If possible, supply all annual data requested on a calendar basis. However, if

 fiscal year data is provided, please specify the month in which the fiscal year begins and

 terminates. Where information is requested “for each year,” include the requested information

 for all prior years and also the requested information available for the current year and specify

 what portion of the current year is covered by such information.

        5.       If information requested is not readily available from your records in exactly the

 form requested, furnish the information in the form maintained by you or carefully prepared

 estimates, designated as such and attach explanations of any estimate used and how the estimate

 was prepared.

        6.       If you do not answer any request, or part thereof, because of a claim of privilege

 or any other claim, set forth the privilege claimed, the facts upon which you rely to support the

 claim or privilege and furnish a list identifying each item of information for which privilege is

 claimed, containing at least the following information:

             a. The date the document was created;

             b. The names of the owner or author(s)/sender(s) of the document;

             c. If the document is an email, the name of the recipient(s), including copy and blind

                 copy recipients;

             d. A brief description of the document and type of legal advice; and




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             e. The grounds for the claim or privilege (e.g., attorney work product,

                attorney-client communication).

        The sender(s) and recipient(s) shall be identified by position and entity (corporation or

 firm, etc.) with which they are employed or associated. If the sender or recipient is an attorney or

 foreign patent agent, he or she should be so identified. In the case of a foreign patent agent, there

 should be a statement of whether the laws of the agent’s country grant privileged status to a

 patent agent’s communication. The type of privilege claimed must also be stated, together with

 certification that all elements of the claimed privilege have been met and not waived with respect

 to each document.

        7.      Technical terms shall have their normal technical meaning. If you find the

 meaning of any term in these requests to be unclear, you must assume a reasonable meaning,

 state what the assumed meaning is, and answer on the basis of that assumed meaning. If you

 wish to clarify your interpretation of any particular term that it relied on in answering a request,

 you should do so in its answer.

        8.      To the extent that any portion of a request requires the production of documents

 that were at one time within your possession, custody, or control, but which are now in the

 possession, custody, or control of another, you are directed to identify such documents in a

 manner sufficient to describe such documents for the purpose of preparing and serving a proper

 subpoena and to give the name, telephone number, address, and e-mail address of the person last

 known by you to have been in possession, custody, or control of such documents.

                                    TOPICS FOR DEPOSITION

        1.      The subject matter of all requests for production in the concurrently served

 document subpoena.




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         2.      The authenticity of the documents produced in response to the concurrently

 served document subpoena.

         3.      The formation of Terrier.

         4.      The formation of OT WSOU Terrier Holdings, LLC.

         5.      Your corporate structure.

         6.      Your investments or interests in the asserted patents, including assignment,

 licensing, acquisition, financial interest, security interest, lien, sale, transfer of rights (in whole or

 in part) and any other disposition of or any offers to buy, sell, obtain rights to, or licenses any of

 the asserted patents.

         7.      Discussions with BP Funding Trust regarding any asserted patent, a portfolio

 including an asserted patent, assignment of any interest in any asserted patent or a portfolio

 including an asserted patent, or the acquisition or potential acquisition of any portfolio that might

 have included an asserted patent.

         8.      Agreements with BP Funding Trust concerning any potential or actual transaction

 regarding any asserted patent, a portfolio including an asserted patent, or the acquisition or

 potential acquisition of any portfolio that might have included an asserted patent.

         9.      Agreements with the named inventor(s) of any of the asserted patents, including

 assignment agreements, consulting agreements, employment agreements and any agreements

 pertaining to litigation involving the asserted patents or any related patents.

         10.     Compensation, cost-sharing, or profit sharing agreements with any of the named

 inventor(s) of the asserted patent(s).




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         11.    The assignment, licensing, acquisition, financial interest, security interest, lien,

 sale, transfer of rights (in whole or in part) and any other disposition of or any offers to buy, sell,

 obtain rights to, or licenses any of the asserted patents.

         12.    The nature and scope of any rights you had in the past or currently have in each of

 the asserted patents, related applications or related patents from the time each alleged invention

 was conceived through the present, including the right to control any portion of litigation, future

 royalties, payment for licenses, contingent rights, or payments depending on the outcome of

 litigation.

         13.    Agreements relating to each of the asserted patents (or any portfolio including any

 of the asserted patents), including assurances, covenants not to sue and understandings not to

 assert any of the asserted patents against potential licensees.

         14.    Agreements between you and WSOU, Allied Security Trust, AQUA Licensing,

 LLC, RPX Corporation, Fortress Credit Co., LLC, Houlihan, Orange Holdings, Wade and

 Company, Omega Credit Opportunities Master Fund, BP Funding Trust, Juniper Capital

 Partners, Coast Asset Management, or WCFT Cayman, regarding any asserted patent, a portfolio

 including an asserted patent, or the acquisition or potential acquisition of any portfolio that might

 have included an asserted patent, including any amendment, modification, supplementation,

 abrogation, or termination of any such agreements.

         15.    Agreements with Nokia or other WSOU Defendants regarding an asserted patent

 or a portfolio including an asserted patent.

         16.    Communications with Nokia, Allied Security Trust, AQUA, RPX Corporation,

 Fortress Credit Co., LLC, Houlihan, WSOU, Orange Holdings, Wade and Company, Omega

 Credit Opportunities Master Fund, BP Funding Trust, Juniper Capital Partners, Coast Asset




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 Management, or WCFT Cayman regarding an asserted patent, a portfolio including an asserted

 patent, or actual or potential litigation relating to an asserted patent.

         17.     Communications with any of the named inventors regarding any of the asserted

 patents, this litigation or Google.

         18.     Communications with WSOU regarding the asserted patent, related patents, this

 litigation or Google.

         19.     Communications between you and any other entity relating to the possibility of

 patent litigation regarding the asserted patent and related patents, including any actual or

 potential patent litigation against Google and the WSOU v. Google Litigations.

         20.     The formation of WSOU.

         21.     Any contemplated acquisition of patents or rights in patents from Nokia.

         22.     Any interests (current or prior) in WSOU.

         23.     Any actual, contingent, or potential (1) right to license or sublicense any asserted

 patent, (2) right to control the licensing of any asserted patent, or (3) right to control the

 resolution of any litigation involving any asserted patent.

         24.     Your relationship with Stuart A. Shanus, Eric Schneider, Andrew Neuberger,

 Marc Wade, Craig Etchegoyen, Orange Holdings, WSOU, Uniloc USA, Inc., WCFT Cayman,

 Omega Credit Opportunities Master Fund, Wade and Company, and BP Funding Trust, or any

 other entity associated with the foregoing.

         25.     The “Patent Security Agreement” recorded at USPTO Reel 09235 Frame 0068,

 signed May 16, 2019, and any related agreements.




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        26.     Communications regarding the May 16, 2019 “Patent Security Agreement” and

 any related agreements, including the circumstances surrounding the recorded release of your

 security interest regarding the “Patent Security Agreement.”

        27.     The release of your security interest, dated June 3, 2021, recorded at USPTO Reel

 056526 Frame 0093, the circumstances of this agreement, and any related agreements.

        28.     The value of, any valuations of or attempts to value any asserted patent, related

 patent, or related application, whether individually or in combination with any other patents or

 applications, including any portfolio containing any asserted patent or related patent.

        29.     Any evaluation or analysis of any asserted patent, any related patent, or any

 related application, whether individually or in combination with any other patents or

 applications, including any evaluation or analysis of infringement, validity, or

 commercialization.

        30.     Responses to any subpoena served by any other WSOU Defendant.




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE
                                           :
  GOOGLE LLC,                              :
                                           :
                       Plaintiff(s),       :
                                           :
         v.                                :
                                           :        C.A. No. 21-MC-440-UNA
  BP FUNDING TRUST,                        :
                                           :
                       Defendant(s).       :
                                           :
                                           :


         OBJECTION TO SUBPOENA TO PRODUCE DOCUMENTS,
      INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION OF
                    PREMISES IN CIVIL ACTION


        TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

        PLEASE TAKE NOTICE THAT non-party witness BP Funding Trust

  (“Responding Party”), pursuant to Fed. R. Civ. P. 45(d)(B), hereby objects to the

  subpoena to produce documents, information, or objects or to permit inspection of

  premises in a civil action as follows:

                                GENERAL OBJECTIONS

        Responding Party makes the following General Objections to the Subpoena

  to Produce Documents, Information, or Objects or To Permit Inspection of

  Premises in a Civil Action, Request Nos. 1-27. These General Objections are

  incorporated into the specific objections to each Request. The assertion of the same



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  or additional objections to any individual Request does not waive other General

  Objections that are not repeated in the specific objections. The objections and

  responses set forth below are based on information currently available to

  Responding Party:

        1. Responding Party objects to each and every Request to the extent that it

  seeks information protected by the attorney-client privilege, attorney work product

  doctrine, joint defense agreement and/or taxpayer/tax return privilege.

        2. Responding Party further objects to each request to the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges.

        3. Responding Party objects to each request to the extent that it seeks

  production of documents that are neither relevant to the subject matter of this

  action nor reasonably calculated to lead to the discovery of admissible evidence.

        4. Responding Party objects to each request to the extent that the

  information sought can be obtained through party discovery or other sources



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  without the need to seek documents from non-party witness Responding Party.

  Google LLC (“Propounding Party”) failed to take reasonable steps to avoid

  imposing undue burden or expense on Responding Party in violation of Federal

  Rules of Civil Procedure, Rule 45(d)(1).

        5. Responding Party objects to each of Propounding Party’s definitions as

  overbroad, oppressive, unduly burdensome, unnecessarily expensive, and not

  proportional to the needs of the case, considering the importance of the issues at

  stake in the action, the amount in controversy, the parties’ relative access to

  relevant information, the importance of the discovery in resolving the issues, and

  whether the burden or expense of the proposed discovery outweighs its likely

  benefits. Responding Party further objects to the extent that any definition attempts

  to impose any obligations upon Responding Party greater than those authorized by

  the Federal Rules of Civil Procedure, Local Rules, or any other applicable law, and

  also as, vague, ambiguous, unclear, or unintelligible.

        6. Nothing herein is intended to waive the following objections, which are

  expressly reserved: All objections as to competency, relevancy, materiality and

  admissibility of the subject matter of the discovery requests; all objections as to

  vagueness, ambiguity, or undue burden; all objections on any ground as to the use

  of any information provided in response to these discovery requests; and all

  objections on any ground to any request for further responses to these or other



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  discovery requests.

        7. Responding Party does not waive any right to make and preserves any

  objections to the questions asked at deposition or to instruct a witness not to

  answer any question.

        8. Responding Party objects to the definition of “Responding Party Trust” to

  include the various different entities referenced in the definition. The only

  appropriate entity for anything related to WSOU is “Responding Party Trust,

  Series SPL-VI.”

        9. Responding Party objects to Definition 4 which seeks to define various

  different entities in an overbroad fashion. Specifically, Responding Party objects

  to the part of the definition extends to include “Basepoint Administrative LLC and

  BP Funding Trust, a Delaware statutory trust; BP Funding Trust, Series SPL-VI, a

  statutory series of BP Funding Trust; and their trustees, managers, agents,

  representatives, employees, attorneys, or entities acting in conjunction, joint

  venture, or partnership with any of them including but not limited to Basepoint

  Capital LLC, Basepoint Tax Funding Trust, Venture 4th Basepoint 1, LLC,

  Basepoint Administrative LLC, Basepoint Asset Recovery LLC, or any other

  “Basepoint” entity or related entity thereto.”




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        10.    Responding Party objects to Definitions 5 through 15, and 17, all of

  which seek to define various different entities in an overbroad

  fashion. Specifically, Responding Party objects to the part of the definition

  extends to include “any other persons acting on behalf of any of the foregoing, and

  any other entities that own or control or are owned or controlled by or share

  common ownership or control with any of the foregoing, as well as predecessors

  and successors in interest to such entities” for each entity, and to the part of the

  definition that extends to “affiliates” of the entity, a term which is itself defined in

  overbroad fashion at number 17.

        11. Responding Party objects to Definition 16 (“asserted patents”) as vague

  and overbroad, to the extent that it includes asserted patents beyond the particular

  patents specifically referenced.

        12. Responding Party objects to Definitions 18 (“related application”), 19

  (“related patent”), 21 (“accused product”), and 22 (“asserted claim”) as vague and

  overbroad.

        13. Responding Party objects to Definition 33 (“Other WSOU Defendants”)

  as vague and overbroad, to the extent that it includes defendants other than those

  particular defendants specifically referenced.




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        14. Responding Party objects to the “Instructions” to the extent they purport

  to request anything of a non-party that goes beyond what is required or allowed

  under Federal Rule of Civil Procedure 45.

        REQUESTS AND OBJECTIONS TO INDIVIDUAL REQUESTS

  REQUEST FOR PRODUCTION NO. 1:

            Documents concerning the formation of BP Funding Trust.

  RESPONSE TO REQUEST 1:

        Objection. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to any party’s claim or defense, nor

  proportional to the needs of the case.




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  REQUEST FOR PRODUCTION NO. 2:

        Documents concerning your relationship to NextPoint Acquisition Corp.

  RESPONSE TO REQUEST 2:

        Objection. Responding Party objects to this request on the grounds it is

  vague, ambiguous and unintelligible as to the term “your relationship”.

  Responding Party objects on the grounds this request is overly broad and unduly

  burdensome. Responding Party objects further on the grounds this request is

  oppressive, burdensome and harassing as the documents requested can be sought

  from a party or other source without the need to seek them from this non-party

  witness. Responding Party further objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent




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  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 3:

        Documents concerning your corporate structure.

  RESPONSE TO REQUEST 3:

        Objection. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 4:

        Documents concerning your investments or interests in the asserted patents,

  including assignment, licensing, acquisition, financial interest, security interest,



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  lien, sale, transfer of rights (in whole or in part) and any other disposition of or any

  offers to buy, sell, obtain rights to, or licenses any of the asserted patents.

  RESPONSE TO REQUEST 4:

        Objection. Responding Party objects on the grounds this request is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this request is oppressive, burdensome and harassing as the documents

  requested can be sought from a party or other source without the need to seek them

  from this non-party witness. Responding Party objects to this request to the extent

  it seeks information protected from disclosure by the attorney-client privilege

  and/or attorney work product doctrine. Responding Party further objects to the

  extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, documents that are shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.




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  REQUEST FOR PRODUCTION NO. 5:

        Documents concerning discussions with NextPoint Acquisition Corp.

  regarding any asserted patent, a portfolio including an asserted patent, assignment

  of any interest in any asserted patent or a portfolio including an asserted patent, or

  the acquisition or potential acquisition of any portfolio that might have included an

  asserted patent.

  RESPONSE TO REQUEST 5:

        Objection. Responding Party objects on the grounds this request is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this request is oppressive, burdensome and harassing as the documents

  requested can be sought from a party or other source without the need to seek them

  from this non-party witness. Responding Party objects to this request to the extent

  it seeks information protected from disclosure by the attorney-client privilege

  and/or attorney work product doctrine. Responding Party further objects to the

  extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, documents that are shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States



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  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 6:

        Documents concerning discussions with Terrier regarding any asserted

  patent, a portfolio including an asserted patent, assignment of any interest in any

  asserted patent or a portfolio including an asserted patent, or the acquisition or

  potential acquisition of any portfolio that might have included an asserted patent.

  RESPONSE TO REQUEST 6:

        Objection. Responding Party objects on the grounds this request is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this request is oppressive, burdensome and harassing as the documents

  requested can be sought from a party or other source without the need to seek them

  from this non-party witness. Responding Party objects to this request to the extent

  it seeks information protected from disclosure by the attorney-client privilege

  and/or attorney work product doctrine. Responding Party further objects to the

  extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, documents that are shielded from production by statutory or



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  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 7:

        Agreements with Terrier concerning any potential or actual transaction

  regarding any asserted patent, a portfolio including an asserted patent, or the

  acquisition or potential acquisition of any portfolio that might have included an

  asserted patent.

  RESPONSE TO REQUEST 7:

        Objection. Responding Party objects on the grounds this request is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this request is oppressive, burdensome and harassing as the documents

  requested can be sought from a party or other source without the need to seek them

  from this non-party witness. Responding Party objects to this request to the extent

  it seeks information protected from disclosure by the attorney-client privilege

  and/or attorney work product doctrine. Responding Party further objects to the

  extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in



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  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, documents that are shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 8:

        Agreements with the named inventor(s) of any of the asserted patents,

  including assignment agreements, consulting agreements, employment agreements

  and any agreements pertaining to litigation involving the asserted patents or any

  related patents.

  RESPONSE TO REQUEST 8:

            Objection. Responding Party objects on the grounds this request is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this request is oppressive, burdensome and harassing as the documents

  requested can be sought from a party or other source without the need to seek them

  from this non-party witness. Responding Party objects to this request to the extent

  it seeks information protected from disclosure by the attorney-client privilege

  and/or attorney work product doctrine. Responding Party further objects to the



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  extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, documents that are shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 9:

        Compensation, cost-sharing, or profit sharing agreements with any of the

  named inventor(s) of the asserted patent(s).

  RESPONSE TO REQUEST 9:

        Objection. Responding Party objects on the grounds this request is

  vague, ambiguous and unintelligible as to the phrases/terms “Compensation, cost-

  sharing, or profit sharing agreements.” Responding Party objects further on the

  grounds this request is oppressive, burdensome and harassing as the documents

  requested can be sought from a party or other source without the need to seek them

  from this non-party witness. Responding Party objects to this request to the extent

  it seeks information protected from disclosure by the attorney-client privilege



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  and/or attorney work product doctrine. Responding Party further objects to the

  extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, documents that are shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 10:

        Documents regarding the assignment, licensing, acquisition, financial

  interest, security interest, lien, sale, transfer of rights (in whole or in part) and any

  other disposition of or any offers to buy, sell, obtain rights to, or licenses any of the

  asserted patents.

  RESPONSE TO REQUEST 10:

        Objection. Responding Party objects on the grounds this request is vague,

  ambiguous and unintelligible as to the phrases/terms “Compensation, cost-sharing,

  or profit sharing agreements.” Responding Party objects further on the grounds

  this request is oppressive, burdensome and harassing as the documents requested



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  can be sought from a party or other source without the need to seek them from this

  non-party witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 11:

        Documents concerning the nature and scope of any rights you had in the past

  or currently have in each of the asserted patents, related applications or related

  patents from the time each alleged invention was conceived through the present,

  including the right to control any portion of litigation, future royalties, payment for

  licenses, contingent rights, or payments depending on the outcome of litigation.




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  RESPONSE TO REQUEST 11:

         Objection. Responding Party objects on the grounds this request is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this request is oppressive, burdensome and harassing as the documents requested

  can be sought from a party or other source without the need to seek them from this

  non-party witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 12:

        Documents regarding agreements relating to each of the asserted patents (or

  any portfolio including any of the asserted patents), including assurances,



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  covenants not to sue and understandings not to assert any of the asserted patents

  against potential licensees.

  RESPONSE TO REQUEST 12:

        Objection. Responding Party objects on the grounds this request is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this request is oppressive, burdensome and harassing as the documents requested

  can be sought from a party or other source without the need to seek them from this

  non-party witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.




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  REQUEST FOR PRODUCTION NO. 13:

        Documents regarding agreements between you and WSOU, Allied Security

  Trust, AQUA Licensing, LLC, RPX Corporation, Fortress Credit Co., LLC,

  Houlihan, Orange Holdings, Wade and Company, Omega Credit Opportunities

  Master Fund, Terrier, Juniper Capital Partners, Coast Asset Management, or

  WCFT Cayman, regarding any asserted patent, a portfolio including an asserted

  patent, or the acquisition or potential acquisition of any portfolio that might have

  included an asserted patent, including any amendment, modification,

  supplementation, abrogation, or termination of any such agreements.

  RESPONSE TO REQUEST 13:

        Objection. Responding Party objects on the grounds this request is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this request is oppressive, burdensome and harassing as the documents

  requested can be sought from a party or other source without the need to seek them

  from this non-party witness. Responding Party objects to this request to the extent

  it seeks information protected from disclosure by the attorney-client privilege

  and/or attorney work product doctrine. Responding Party further objects to the

  extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but



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  not limited to, documents that are shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 14:

        Documents regarding agreements with Nokia or other WSOU Defendants

  regarding an asserted patent or a portfolio including an asserted patent.

  RESPONSE TO REQUEST 14:

        Objection. Responding Party objects on the grounds this request is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this request is oppressive, burdensome and harassing as the documents requested

  can be sought from a party or other source without the need to seek them from this

  non-party witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited



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  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 15:

        Communications with Nokia, Allied Security Trust, AQUA, RPX

  Corporation, Fortress Credit Co., LLC, Houlihan, WSOU, Orange Holdings, Wade

  and Company, Omega Credit Opportunities Master Fund, Terrier, Juniper Capital

  Partners, Coast Asset Management, or WCFT Cayman regarding an asserted

  patent, a portfolio including an asserted patent, or actual or potential litigation

  relating to an asserted patent.

  RESPONSE TO REQUEST 15:

        Objection. Responding Party objects on the grounds this request is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this request is oppressive, burdensome and harassing as the documents requested

  can be sought from a party or other source without the need to seek them from this

  non-party witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or



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  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 16:

        Documents concerning communications with any of the named inventors

  regarding any of the asserted patents, this litigation or Google.

  RESPONSE TO REQUEST 16:

        Objection. Responding Party objects on the grounds this request is vague,

  ambiguous and unintelligible. Responding Party further objects on the grounds

  that this request overly broad and unduly burdensome. Responding Party objects

  on the grounds this request is oppressive, burdensome and harassing as the

  documents requested can be sought from a party or other source without the need

  to seek them from this non-party witness. Responding Party objects to this request



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  to the extent it seeks information protected from disclosure by the attorney-client

  privilege and/or attorney work product doctrine. Responding Party further objects

  to the extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, documents that are shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 17:

        Communications with WSOU regarding the asserted patent, related patents,

  this litigation or Google.

  RESPONSE TO REQUEST 17:

        Objection. Responding Party objects on the grounds this request is vague,

  ambiguous and unintelligible. Responding Party further objects on the grounds

  that this request overly broad and unduly burdensome. Responding Party objects

  on the grounds this request is oppressive, burdensome and harassing as the

  documents requested can be sought from a party or other source without the need



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  to seek them from this non-party witness. Responding Party objects to this request

  to the extent it seeks information protected from disclosure by the attorney-client

  privilege and/or attorney work product doctrine. Responding Party further objects

  to the extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, documents that are shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 18:

        Documents concerning communications between you and any other entity

  relating to the possibility of patent litigation regarding the asserted patent and

  related patents, including any actual or potential patent litigation against Google

  and the WSOU v. Google Litigations.

  RESPONSE TO REQUEST 18:

        Objection. Responding Party objects on the grounds this request is overly

  broad and unduly burdensome. Responding Party objects further on the grounds



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  this request is oppressive, burdensome and harassing as the documents requested

  can be sought from a party or other source without the need to seek them from this

  non-party witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 19:

        Documents concerning any contemplated acquisition of patents or rights in

  patents from Nokia.

  RESPONSE TO REQUEST 19:

        Objection. Responding Party objects on the grounds this request is

  oppressive, burdensome and harassing as the documents requested can be sought



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  from a party or other source without the need to seek them from this non-party

  witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 20:

        Documents sufficient to show any interests (current or prior) in WSOU.

  RESPONSE TO REQUEST 20:

        Objection. Responding Party objects on the grounds this request is

  oppressive, burdensome and harassing as the documents requested can be sought

  from a party or other source without the need to seek them from this non-party

  witness. Responding Party objects to this request to the extent it seeks



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  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 21:

        Documents sufficient to show any actual, contingent, or potential (1) right to

  license or sublicense any asserted patent, (2) right to control the licensing of any

  asserted patent, or (3) right to control or be involved in the resolution of any

  litigation involving any asserted patent.

  RESPONSE TO REQUEST 21:

        Objection. Responding Party objects on the grounds this request is

  oppressive, burdensome and harassing as the documents requested can be sought

  from a party or other source without the need to seek them from this non-party



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  witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 22:

        Documents sufficient to show your relationship with Stuart A. Shanus, Eric

  Schneider, Andrew Neuberger, Marc Wade, or Craig Etchegoyen, Orange

  Holdings, WSOU, Uniloc USA, Inc., WCFT Cayman, Omega Credit Opportunities

  Master Fund, Wade and Company, and Terrier, or any entity associated with the

  foregoing.

  RESPONSE TO ERQUEST 22:

        Objection. Responding Party objects on the grounds this request is



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  oppressive, burdensome and harassing as the documents requested can be sought

  from a party or other source without the need to seek them from this non-party

  witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 23

        Documents concerning communications with Omega Credit Opportunities

  Master Fund.

  RESPONSE TO REQUEST 23:

        Objection. Responding Party objects on the grounds this request is




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  oppressive, burdensome and harassing as the documents requested can be sought

  from a party or other source without the need to seek them from this non-party

  witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 24:

        Documents concerning the “Patent Security Agreement” recorded at USPTO

  Reel 09235 Frame 0068, signed May 16, 2019, the circumstances of this

  agreement, and any related agreements.




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  RESPONSE TO REQUEST 24:

        Objection. Responding Party objects on the grounds this request is

  oppressive, burdensome and harassing as the documents requested can be sought

  from a party or other source without the need to seek them from this non-party

  witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 25:

        Documents concerning the value of, any valuations of or attempts to value

  any asserted patent, related patent, or related application, whether individually or




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  in combination with any other patents or applications, including any portfolio

  containing any asserted patent or related patent.

  RESPONSE TO REQUEST 25:

        Objection. Responding Party objects on the grounds this request is

  oppressive, burdensome and harassing as the documents requested can be sought

  from a party or other source without the need to seek them from this non-party

  witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.




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  REQUEST FOR PRODUCTION NO. 26:

        Documents concerning any evaluation or analysis of any asserted patent, any

  related patent, or any related application, whether individually or in combination

  with any other patents or applications, including any evaluation or analysis of

  infringement, validity, or commercialization.

  RESPONSE TO REQUEST 26:

        Objection. Responding Party objects on the grounds this request is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this request is oppressive, burdensome and harassing as the documents requested

  can be sought from a party or other source without the need to seek them from this

  non-party witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent



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  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 27:

        Documents produced in response to a subpoena served by any other WSOU

  Defendant.

  RESPONSE TO REQUEST 27:

        Objection. Responding Party objects on the grounds this request is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this request is oppressive, burdensome and harassing as the documents requested

  can be sought from a party or other source without the need to seek them from this

  non-party witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent



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  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

   Date: October 19, 2021                            /s/ Morgan E. Pietz
                                               Morgan E. Pietz (CA Bar #260629)*
                                               Pietz & Shahriari, LLP
                                               9454 Wilshire Blvd., Suite 310
                                               Beverly Hills, CA 90212
                                               Counsel for BP Funding Trust

                                               Sean J. Bellew (#4072)
                                               Bellew LLC
                                               2961 Centerville Road, Suite 302
                                               Wilmington, Delaware 19808
                                               Telephone: (302) 353-4951
                                               sjbellew@bellewllc.com
                                               Counsel for BP Funding Trust




  *Pro Hac Vice application is forthcoming.




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE
                                             :
  GOOGLE LLC,                                :
                                             :
                       Plaintiff(s),         :
                                             :
         v.                                  :
                                             :        C.A. No. 1:21-mc-   -UNA
  BP FUNDING TRUST,                          :
                                             :
                       Defendant(s).         :
                                             :
                                             :


     OBJECTION TO SUBPOENA TO TESTIFY AT A DEPOSITION IN A
                        CIVIL ACTION


        TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

        PLEASE TAKE NOTICE THAT non-party witness BP Funding Trust

  (“Responding Party”), pursuant to Fed. R. Civ. P. 45(d)(B), hereby objects to the

  subpoena to testify at a deposition in a civil action as follows:

                                GENERAL OBJECTIONS

        Responding Party makes the following General Objections to the Subpoena

  to Testify at a Deposition in a Civil Action, Topics for Deposition Nos. 1-29.

  These General Objections are incorporated into the specific objections to each

  topic. The assertion of the same or additional objections to any individual Topic

  does not waive other General Objections that are not repeated in the specific
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  objections. The objections and responses set forth below are based on information

  currently available to Responding Party:

        1. Responding Party objects to each and every Topic to the extent that it

  seeks information protected by the attorney-client privilege, attorney work product

  doctrine, joint defense agreement and/or taxpayer/tax return privilege.

        2. Responding Party further objects to each topic to the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges.

        3. Responding Party objects to each topic to the extent that it seeks

  production of information that is neither relevant to the subject matter of this action

  nor reasonably calculated to lead to the discovery of admissible evidence. Google

  LLC (“Propounding Party”) failed to take reasonable steps to avoid imposing

  undue burden or expense on Responding Party in violation of Federal Rules of

  Civil Procedure, Rule 45(d)(1).

        4. Responding Party objects to each topic to the extent that it the
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  information sought can be obtained through party discovery or other sources

  without the need to seek information from non-party witness Responding Party.

        5. Responding Party objects to each of Propounding Party’s definitions as

  overbroad, oppressive, unduly burdensome, unnecessarily expensive, and not

  proportional to the needs of the case, considering the importance of the issues at

  stake in the action, the amount in controversy, the parties’ relative access to

  relevant information, the importance of the discovery in resolving the issues, and

  whether the burden or expense of the proposed discovery outweighs its likely

  benefits. Responding Party further objects to the extent that any definition attempts

  to impose any obligations upon Responding Party greater than those authorized by

  the Federal Rules of Civil Procedure, Local Rules, or any other applicable law, and

  also as, vague, ambiguous, unclear, or unintelligible.

        6. Nothing herein is intended to waive the following objections, which are

  expressly reserved: All objections as to competency, relevancy, materiality and

  admissibility of the subject matter of the discovery topics; all objections as to

  vagueness, ambiguity, or undue burden; all objections on any ground as to the use

  of any information provided in response to these discovery topics; and all

  objections on any ground to any topic for further responses to these or other

  discovery topics.

        7. Responding Party does not waive any right to make and preserves any
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  objections to the questions asked at deposition or to instruct a witness not to

  answer any question.

        8. Responding Party objects to the definition of “Responding Party Trust” to

  include the various different entities referenced in the definition. The only

  appropriate entity for anything related to WSOU is “Responding Party Trust,

  Series SPL-VI.”

        9. Responding Party objects to Definition 4 which seeks to define various

  different entities in an overbroad fashion. Specifically, Responding Party objects

  to the part of the definition extends to include “Basepoint Administrative LLC and

  BP Funding Trust, a Delaware statutory trust; BP Funding Trust, Series SPL-VI, a

  statutory series of BP Funding Trust; and their trustees, managers, agents,

  representatives, employees, attorneys, or entities acting in conjunction, joint

  venture, or partnership with any of them including but not limited to Basepoint

  Capital LLC, Basepoint Tax Funding Trust, Venture 4th Basepoint 1, LLC,

  Basepoint Administrative LLC, Basepoint Asset Recovery LLC, or any other

  “Basepoint” entity or related entity thereto.”

        10.    Responding Party objects to Definitions 5 through 15, and 17, all of

  which seek to define various different entities in an overbroad

  fashion. Specifically, Responding Party objects to the part of the definition

  extends to include “any other persons acting on behalf of any of the foregoing, and
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  any other entities that own or control or are owned or controlled by or share

  common ownership or control with any of the foregoing, as well as predecessors

  and successors in interest to such entities” for each entity, and to the part of the

  definition that extends to “affiliates” of the entity, a term which is itself defined in

  overbroad fashion at number 17.

        11. Responding Party objects to Definition 16 (“asserted patents”) as vague

  and overbroad, to the extent that it includes asserted patents beyond the particular

  patents specifically referenced.

        12. Responding Party objects to Definitions 18 (“related application”), 19

  (“related patent”), 21 (“accused product”), and 22 (“asserted claim”) as vague and

  overbroad.

        13. Responding Party objects to Definition 33 (“Other WSOU Defendants”)

  as vague and overbroad, to the extent that it includes defendants other than those

  particular defendants specifically referenced.

        14. Responding Party objects to the “Instructions” to the extent they purport

  to request anything of a non-party that goes beyond what is required or allowed

  under Federal Rule of Civil Procedure 45.

   SPECIFIC OBJECTIONS TO INDIVIDUAL TOPICS FOR DEPOSITION

        1. Objection. Responding Party objects on the grounds this topic is overly
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  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        2. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks
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  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        3. Objection. Responding Party objects to this topic on the grounds it is

  overly broad and unduly burdensome. Responding Party objects to this topic to the

  extent it seeks information protected from disclosure by the attorney-client

  privilege and/or attorney work product doctrine. Responding Party further objects

  the extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, information that is shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or
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  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

        4. Objection. Responding Party objects to this topic on the grounds it is

  vague, ambiguous and unintelligible as to the term “your relationship”.

  Responding Party objects on the grounds this topic is overly broad and unduly

  burdensome. Responding Party objects further on the grounds this topic is

  oppressive, burdensome and harassing as the information can be sought from a

  party or other source without the need to seek information from this non-party

  witness. Responding Party further objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

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  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        5. Objection. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

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  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        6. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or
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  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        7. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited
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  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        8. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent
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  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        9. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

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  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        10. Objection. Responding Party objects on the grounds this topic is overly
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  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        11.   Objection. Responding Party objects on the grounds this topic is

  vague, ambiguous and unintelligible as to the phrases/terms “Compensation, cost-

  sharing, or profit sharing agreements.” Responding Party objects further on the

  grounds this topic is oppressive, burdensome and harassing as the information can

  be sought from a party or other source without the need to seek information from
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  this non-party witness. Responding Party objects to this topic to the extent it

  seeks information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        12.    Objection. Responding Party objects on the grounds this topic is

  vague, ambiguous and unintelligible as to the phrases/terms “Compensation, cost-

  sharing, or profit sharing agreements.” Responding Party objects further on the

  grounds this topic is oppressive, burdensome and harassing as the information can

  be sought from a party or other source without the need to seek information from

  this non-party witness. Responding Party objects to this topic to the extent it

  seeks information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls
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  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        13. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of
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  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        14. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent
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  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        15. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        16. Objection. Responding Party objects on the grounds this topic is overly
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  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        17.   Objection. Responding Party objects on the grounds this topic is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this topic is oppressive, burdensome and harassing as the information can

  be sought from a party or other source without the need to seek information from

  this non-party witness. Responding Party objects to this topic to the extent it
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  seeks information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        18. Objection. Responding Party objects on the grounds this topic is vague,

  ambiguous and unintelligible. Responding Party further objects on the grounds

  that this topic overly broad and unduly burdensome. Responding Party objects on

  the grounds this topic is oppressive, burdensome and harassing as the information

  can be sought from a party or other source without the need to seek information

  from this non-party witness. Responding Party objects to this topic to the extent it

  seeks information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary
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  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        19. Objection. Responding Party objects on the grounds this topic is

  vague, ambiguous and unintelligible. Responding Party further objects on the

  grounds that this topic overly broad and unduly burdensome. Responding Party

  objects on the grounds this topic is oppressive, burdensome and harassing as the

  information can be sought from a party or other source without the need to seek

  information from this non-party witness. Responding Party objects to this topic to

  the extent it seeks information protected from disclosure by the attorney-client

  privilege and/or attorney work product doctrine. Responding Party further objects

  the extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, information that is shielded from production by statutory or
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  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

        20. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent
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  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        21.    Objection. Responding Party objects on the grounds this topic is

  oppressive, burdensome and harassing as the information can be sought from a

  party or other source without the need to seek information from this non-party

  witness. Responding Party objects to this topic to the extent it seeks information

  protected from disclosure by the attorney-client privilege and/or attorney work

  product doctrine. Responding Party further objects the extent it calls for the

  disclosure of non-public, private, personal, confidential, proprietary information, or

  trade secret information that has been maintained in confidence and/or is legally

  required to be maintained in confidence, including, but not limited to, information

  that is shielded from production by statutory or decisional law of the United States

  and each of its jurisdictions, statutory or decisional law of any foreign country, the

  right of privacy under the United States Constitution, and all other applicable laws

  or privileges. Responding Party further objects to the extent it seeks information

  that is not relevant to the relevant to any party’s claim or defense, nor proportional

  to the needs of the case.

        22.   Objection. Responding Party objects on the grounds this topic is

  oppressive, burdensome and harassing as the information can be sought from a

  party or other source without the need to seek information from this non-party
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  witness. Responding Party objects to this topic to the extent it seeks information

  protected from disclosure by the attorney-client privilege and/or attorney work

  product doctrine. Responding Party further objects the extent it calls for the

  disclosure of non-public, private, personal, confidential, proprietary information, or

  trade secret information that has been maintained in confidence and/or is legally

  required to be maintained in confidence, including, but not limited to, information

  that is shielded from production by statutory or decisional law of the United States

  and each of its jurisdictions, statutory or decisional law of any foreign country, the

  right of privacy under the United States Constitution, and all other applicable laws

  or privileges. Responding Party further objects to the extent it seeks information

  that is not relevant to the relevant to any party’s claim or defense, nor proportional

  to the needs of the case.

        23. Objection. Responding Party objects on the grounds this topic is

  oppressive, burdensome and harassing as the information can be sought from a

  party or other source without the need to seek information from this non-party

  witness. Responding Party objects to this topic to the extent it seeks information

  protected from disclosure by the attorney-client privilege and/or attorney work

  product doctrine. Responding Party further objects the extent it calls for the

  disclosure of non-public, private, personal, confidential, proprietary information, or

  trade secret information that has been maintained in confidence and/or is legally
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  required to be maintained in confidence, including, but not limited to, information

  that is shielded from production by statutory or decisional law of the United States

  and each of its jurisdictions, statutory or decisional law of any foreign country, the

  right of privacy under the United States Constitution, and all other applicable laws

  or privileges. Responding Party further objects to the extent it seeks information

  that is not relevant to the relevant to any party’s claim or defense, nor proportional

  to the needs of the case.

        24.   Objection. Responding Party objects on the grounds this topic is

  oppressive, burdensome and harassing as the information can be sought from a

  party or other source without the need to seek information from this non-party

  witness. Responding Party objects to this topic to the extent it seeks information

  protected from disclosure by the attorney-client privilege and/or attorney work

  product doctrine. Responding Party further objects the extent it calls for the

  disclosure of non-public, private, personal, confidential, proprietary information, or

  trade secret information that has been maintained in confidence and/or is legally

  required to be maintained in confidence, including, but not limited to, information

  that is shielded from production by statutory or decisional law of the United States

  and each of its jurisdictions, statutory or decisional law of any foreign country, the

  right of privacy under the United States Constitution, and all other applicable laws

  or privileges. Responding Party further objects to the extent it seeks information
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  that is not relevant to the relevant to any party’s claim or defense, nor proportional

  to the needs of the case.

        25.   Objection. Responding Party objects on the grounds this topic is

  oppressive, burdensome and harassing as the information can be sought from a

  party or other source without the need to seek information from this non-party

  witness. Responding Party objects to this topic to the extent it seeks information

  protected from disclosure by the attorney-client privilege and/or attorney work

  product doctrine. Responding Party further objects the extent it calls for the

  disclosure of non-public, private, personal, confidential, proprietary information, or

  trade secret information that has been maintained in confidence and/or is legally

  required to be maintained in confidence, including, but not limited to, information

  that is shielded from production by statutory or decisional law of the United States

  and each of its jurisdictions, statutory or decisional law of any foreign country, the

  right of privacy under the United States Constitution, and all other applicable laws

  or privileges. Responding Party further objects to the extent it seeks information

  that is not relevant to the relevant to any party’s claim or defense, nor proportional

  to the needs of the case.

        26.    Objection. Responding Party objects on the grounds this topic is

  oppressive, burdensome and harassing as the information can be sought from a

  party or other source without the need to seek information from this non-party
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  witness. Responding Party objects to this topic to the extent it seeks information

  protected from disclosure by the attorney-client privilege and/or attorney work

  product doctrine. Responding Party further objects the extent it calls for the

  disclosure of non-public, private, personal, confidential, proprietary information, or

  trade secret information that has been maintained in confidence and/or is legally

  required to be maintained in confidence, including, but not limited to, information

  that is shielded from production by statutory or decisional law of the United States

  and each of its jurisdictions, statutory or decisional law of any foreign country, the

  right of privacy under the United States Constitution, and all other applicable laws

  or privileges. Responding Party further objects to the extent it seeks information

  that is not relevant to the relevant to any party’s claim or defense, nor proportional

  to the needs of the case.

        27.   Objection. Responding Party objects on the grounds this topic is

  oppressive, burdensome and harassing as the information can be sought from a

  party or other source without the need to seek information from this non-party

  witness. Responding Party objects to this topic to the extent it seeks information

  protected from disclosure by the attorney-client privilege and/or attorney work

  product doctrine. Responding Party further objects the extent it calls for the

  disclosure of non-public, private, personal, confidential, proprietary information, or

  trade secret information that has been maintained in confidence and/or is legally
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  required to be maintained in confidence, including, but not limited to, information

  that is shielded from production by statutory or decisional law of the United States

  and each of its jurisdictions, statutory or decisional law of any foreign country, the

  right of privacy under the United States Constitution, and all other applicable laws

  or privileges. Responding Party further objects to the extent it seeks information

  that is not relevant to the relevant to any party’s claim or defense, nor proportional

  to the needs of the case.

        28.   Objection. Responding Party objects on the grounds this topic is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this topic is oppressive, burdensome and harassing as the information can

  be sought from a party or other source without the need to seek information from

  this non-party witness. Responding Party objects to this topic to the extent it

  seeks information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all
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  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        29. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any
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  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

   Date: October 19, 2021                           /s/ Morgan E. Pietz
                                              Morgan E. Pietz (CA Bar #260629)*
                                              Pietz & Shahriari, LLP
                                              9454 Wilshire Blvd., Suite 310
                                              Beverly Hills, CA 90212
                                              Counsel for BP Funding Trust

                                              Sean J. Bellew (#4072)
                                              Bellew LLC
                                              2961 Centerville Road, Suite 302
                                              Wilmington, Delaware 19808
                                              Telephone: (302) 353-4951
                                              sjbellew@bellewllc.com
                                              Counsel for BP Funding Trust




  *Pro Hac Vice application is forthcoming.
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE
                                             :
  GOOGLE LLC,                                :
                                             :
                       Plaintiff(s),         :
                                             :
         v.                                  :
                                             :        C.A. No. 1:21-mc-419-UNA
  TERRIER SSC, LLC,                          :
                                             :
                       Defendant(s).         :
                                             :
                                             :


     OBJECTION TO SUBPOENA TO TESTIFY AT A DEPOSITION IN A
                        CIVIL ACTION


        TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

        PLEASE TAKE NOTICE THAT non-party witness Terrier SSC, LLC

  (“Responding Party”), pursuant to Fed. R. Civ. P. 45(d)(B), hereby objects to the

  subpoena to testify at a deposition in a civil action as follows:

                                GENERAL OBJECTIONS

        Responding Party makes the following General Objections to the Subpoena

  to Testify at a Deposition in a Civil Action, Topics for Deposition Nos. 1-30.

  These General Objections are incorporated into the specific objections to each

  topic. The assertion of the same or additional objections to any individual Topic

  does not waive other General Objections that are not repeated in the specific




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  objections. The objections and responses set forth below are based on information

  currently available to Responding Party:

        1. Responding Party objects to each and every Topic to the extent that it

  seeks information protected by the attorney-client privilege, attorney work product

  doctrine, joint defense agreement and/or taxpayer/tax return privilege.

        2. Responding Party further objects to each topic to the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges.

        3. Responding Party objects to each topic to the extent that it seeks

  production of information that is neither relevant to the subject matter of this action

  nor reasonably calculated to lead to the discovery of admissible evidence. Google

  LLC (“Propounding Party”) failed to take reasonable steps to avoid imposing

  undue burden or expense on Responding Party in violation of Federal Rules of

  Civil Procedure, Rule 45(d)(1).

        4. Responding Party objects to each topic to the extent that it the

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  information sought can be obtained through party discovery or other sources

  without the need to seek information from non-party witness Responding Party.

        5. Responding Party objects to each of Propounding Party’s definitions as

  overbroad, oppressive, unduly burdensome, unnecessarily expensive, and not

  proportional to the needs of the case, considering the importance of the issues at

  stake in the action, the amount in controversy, the parties’ relative access to

  relevant information, the importance of the discovery in resolving the issues, and

  whether the burden or expense of the proposed discovery outweighs its likely

  benefits. Responding Party further objects to the extent that any definition attempts

  to impose any obligations upon Responding Party greater than those authorized by

  the Federal Rules of Civil Procedure, Local Rules, or any other applicable law, and

  also as, vague, ambiguous, unclear, or unintelligible.

        6. Nothing herein is intended to waive the following objections, which are

  expressly reserved: All objections as to competency, relevancy, materiality and

  admissibility of the subject matter of the discovery topics; all objections as to

  vagueness, ambiguity, or undue burden; all objections on any ground as to the use

  of any information provided in response to these discovery topics; and all

  objections on any ground to any topic for further responses to these or other

  discovery topics.

        7. Responding Party does not waive any right to make and preserves any


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  objections to the questions asked at deposition or to instruct a witness not to

  answer any question.

        8. Responding Party objects to the definition of “Responding Party Trust” to

  include the various different entities referenced in the definition. The only

  appropriate entity for anything related to WSOU is “Responding Party Trust,

  Series SPL-VI.”

        9. Responding Party objects to Definitions 4 through 15, and 17, all of

  which seek to define various different entities in an overbroad

  fashion. Specifically, Responding Party objects to the part of the definition

  extends to include “any other persons acting on behalf of any of the foregoing, and

  any other entities that own or control or are owned or controlled by or share

  common ownership or control with any of the foregoing, as well as predecessors

  and successors in interest to such entities” for each entity, and to the part of the

  definition that extends to “affiliates” of the entity, a term which is itself defined in

  overbroad fashion at number 17.

        10. Responding Party objects to Definition 16 (“asserted patents”) as vague

  and overbroad, to the extent that it includes asserted patents beyond the particular

  patents specifically referenced.




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        11. Responding Party objects to Definitions 18 (“related application”), 19

  (“related patent”), 21 (“accused product”), and 22 (“asserted claim”) as vague and

  overbroad.

        12. Responding Party objects to Definition 33 (“Other WSOU Defendants”)

  as vague and overbroad, to the extent that it includes defendants other than those

  particular defendants specifically referenced.

        13. Responding Party objects to the “Instructions” to the extent they purport

  to request anything of a non-party that goes beyond what is required or allowed

  under Federal Rule of Civil Procedure 45.

   SPECIFIC OBJECTIONS TO INDIVIDUAL TOPICS FOR DEPOSITION

        1. Objection. Responding Party objects to this topic on the grounds it is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this topic is oppressive, burdensome and harassing as the information can

  be sought from a party or other source without the need to seek information from

  this non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited



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  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        2. Objection. Responding Party objects to this topic on the grounds it is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this topic is oppressive, burdensome and harassing as the information can

  be sought from a party or other source without the need to seek information from

  this non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent


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  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        3. Objection. Responding Party objects to this topic on the grounds it is

  overly broad and unduly burdensome. Responding Party objects to this topic to the

  extent it seeks information protected from disclosure by the attorney-client

  privilege and/or attorney work product doctrine. Responding Party further objects

  the extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, information that is shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

        4. Objection. Responding Party objects to this topic on the grounds it is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this topic is oppressive, burdensome and harassing as the information can

  be sought from a party or other source without the need to seek information from

  this non-party witness. Responding Party further objects to this topic to the extent

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  it seeks information protected from disclosure by the attorney-client privilege

  and/or attorney work product doctrine. Responding Party further objects the extent

  it calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        5. Objection. Responding Party objects to this topic on the grounds it is

  overly broad and unduly burdensome. Responding Party objects to this topic to the

  extent it seeks information protected from disclosure by the attorney-client

  privilege and/or attorney work product doctrine. Responding Party further objects

  the extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, information that is shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or


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  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

        6. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects to this topic to the extent

  it seeks information protected from disclosure by the attorney-client privilege

  and/or attorney work product doctrine. Responding Party further objects the extent

  it calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        7. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

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  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        8. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls


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  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        9. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of


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  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        10. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

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  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent




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  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        11.   Objection. Responding Party objects on the grounds this topic is

  vague, ambiguous and unintelligible as to the phrases/terms “Compensation, cost-

  sharing, or profit sharing agreements.” Responding Party objects further on the

  grounds this topic is oppressive, burdensome and harassing as the information can

  be sought from a party or other source without the need to seek information from

  this non-party witness. Responding Party objects to this topic to the extent it

  seeks information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        12.    Objection. Responding Party objects on the grounds this topic is

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  vague, ambiguous and unintelligible as to the phrases/terms “Compensation, cost-

  sharing, or profit sharing agreements.” Responding Party objects further on the

  grounds this topic is oppressive, burdensome and harassing as the information can

  be sought from a party or other source without the need to seek information from

  this non-party witness. Responding Party objects to this topic to the extent it

  seeks information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        13. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this


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  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        14. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary


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  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        15. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any


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  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        16. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.


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        17.   Objection. Responding Party objects on the grounds this topic is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this topic is oppressive, burdensome and harassing as the information can

  be sought from a party or other source without the need to seek information from

  this non-party witness. Responding Party objects to this topic to the extent it

  seeks information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        18. Objection. Responding Party objects on the grounds this topic is vague,

  ambiguous and unintelligible. Responding Party further objects on the grounds

  that this topic overly broad and unduly burdensome. Responding Party objects on

  the grounds this topic is oppressive, burdensome and harassing as the information


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  can be sought from a party or other source without the need to seek information

  from this non-party witness. Responding Party objects to this topic to the extent it

  seeks information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        19. Objection. Responding Party objects on the grounds this topic is

  vague, ambiguous and unintelligible. Responding Party further objects on the

  grounds that this topic overly broad and unduly burdensome. Responding Party

  objects on the grounds this topic is oppressive, burdensome and harassing as the

  information can be sought from a party or other source without the need to seek

  information from this non-party witness. Responding Party objects to this topic to

  the extent it seeks information protected from disclosure by the attorney-client


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  privilege and/or attorney work product doctrine. Responding Party further objects

  the extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, information that is shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

        20. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited


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  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        21.    Objection. Responding Party objects on the grounds this topic is

  oppressive, burdensome and harassing as the information can be sought from a

  party or other source without the need to seek information from this non-party

  witness. Responding Party objects to this topic to the extent it seeks information

  protected from disclosure by the attorney-client privilege and/or attorney work

  product doctrine. Responding Party further objects the extent it calls for the

  disclosure of non-public, private, personal, confidential, proprietary information, or

  trade secret information that has been maintained in confidence and/or is legally

  required to be maintained in confidence, including, but not limited to, information

  that is shielded from production by statutory or decisional law of the United States

  and each of its jurisdictions, statutory or decisional law of any foreign country, the

  right of privacy under the United States Constitution, and all other applicable laws

  or privileges. Responding Party further objects to the extent it seeks information




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  that is not relevant to the relevant to any party’s claim or defense, nor proportional

  to the needs of the case.

        22.   Objection. Responding Party objects on the grounds this topic is

  oppressive, burdensome and harassing as the information can be sought from a

  party or other source without the need to seek information from this non-party

  witness. Responding Party objects to this topic to the extent it seeks information

  protected from disclosure by the attorney-client privilege and/or attorney work

  product doctrine. Responding Party further objects the extent it calls for the

  disclosure of non-public, private, personal, confidential, proprietary information, or

  trade secret information that has been maintained in confidence and/or is legally

  required to be maintained in confidence, including, but not limited to, information

  that is shielded from production by statutory or decisional law of the United States

  and each of its jurisdictions, statutory or decisional law of any foreign country, the

  right of privacy under the United States Constitution, and all other applicable laws

  or privileges. Responding Party further objects to the extent it seeks information

  that is not relevant to the relevant to any party’s claim or defense, nor proportional

  to the needs of the case.

        23. Objection. Responding Party objects on the grounds this topic is

  oppressive, burdensome and harassing as the information can be sought from a

  party or other source without the need to seek information from this non-party

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  witness. Responding Party objects to this topic to the extent it seeks information

  protected from disclosure by the attorney-client privilege and/or attorney work

  product doctrine. Responding Party further objects the extent it calls for the

  disclosure of non-public, private, personal, confidential, proprietary information, or

  trade secret information that has been maintained in confidence and/or is legally

  required to be maintained in confidence, including, but not limited to, information

  that is shielded from production by statutory or decisional law of the United States

  and each of its jurisdictions, statutory or decisional law of any foreign country, the

  right of privacy under the United States Constitution, and all other applicable laws

  or privileges. Responding Party further objects to the extent it seeks information

  that is not relevant to the relevant to any party’s claim or defense, nor proportional

  to the needs of the case.

        24.   Objection. Responding Party objects on the grounds this topic is

  oppressive, burdensome and harassing as the information can be sought from a

  party or other source without the need to seek information from this non-party

  witness. Responding Party objects to this topic to the extent it seeks information

  protected from disclosure by the attorney-client privilege and/or attorney work

  product doctrine. Responding Party further objects the extent it calls for the

  disclosure of non-public, private, personal, confidential, proprietary information, or

  trade secret information that has been maintained in confidence and/or is legally


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  required to be maintained in confidence, including, but not limited to, information

  that is shielded from production by statutory or decisional law of the United States

  and each of its jurisdictions, statutory or decisional law of any foreign country, the

  right of privacy under the United States Constitution, and all other applicable laws

  or privileges. Responding Party further objects to the extent it seeks information

  that is not relevant to the relevant to any party’s claim or defense, nor proportional

  to the needs of the case.

        25.   Objection. Responding Party objects on the grounds this topic is

  oppressive, burdensome and harassing as the information can be sought from a

  party or other source without the need to seek information from this non-party

  witness. Responding Party objects to this topic to the extent it seeks information

  protected from disclosure by the attorney-client privilege and/or attorney work

  product doctrine. Responding Party further objects the extent it calls for the

  disclosure of non-public, private, personal, confidential, proprietary information, or

  trade secret information that has been maintained in confidence and/or is legally

  required to be maintained in confidence, including, but not limited to, information

  that is shielded from production by statutory or decisional law of the United States

  and each of its jurisdictions, statutory or decisional law of any foreign country, the

  right of privacy under the United States Constitution, and all other applicable laws

  or privileges. Responding Party further objects to the extent it seeks information


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  that is not relevant to the relevant to any party’s claim or defense, nor proportional

  to the needs of the case.

        26.    Objection. Responding Party objects on the grounds this topic is

  oppressive, burdensome and harassing as the information can be sought from a

  party or other source without the need to seek information from this non-party

  witness. Responding Party objects to this topic to the extent it seeks information

  protected from disclosure by the attorney-client privilege and/or attorney work

  product doctrine. Responding Party further objects the extent it calls for the

  disclosure of non-public, private, personal, confidential, proprietary information, or

  trade secret information that has been maintained in confidence and/or is legally

  required to be maintained in confidence, including, but not limited to, information

  that is shielded from production by statutory or decisional law of the United States

  and each of its jurisdictions, statutory or decisional law of any foreign country, the

  right of privacy under the United States Constitution, and all other applicable laws

  or privileges. Responding Party further objects to the extent it seeks information

  that is not relevant to the relevant to any party’s claim or defense, nor proportional

  to the needs of the case.

        27.   Objection. Responding Party objects on the grounds this topic is

  oppressive, burdensome and harassing as the information can be sought from a

  party or other source without the need to seek information from this non-party

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  witness. Responding Party objects to this topic to the extent it seeks information

  protected from disclosure by the attorney-client privilege and/or attorney work

  product doctrine. Responding Party further objects the extent it calls for the

  disclosure of non-public, private, personal, confidential, proprietary information, or

  trade secret information that has been maintained in confidence and/or is legally

  required to be maintained in confidence, including, but not limited to, information

  that is shielded from production by statutory or decisional law of the United States

  and each of its jurisdictions, statutory or decisional law of any foreign country, the

  right of privacy under the United States Constitution, and all other applicable laws

  or privileges. Responding Party further objects to the extent it seeks information

  that is not relevant to the relevant to any party’s claim or defense, nor proportional

  to the needs of the case.

        28.   Objection. Responding Party objects on the grounds this topic is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this topic is oppressive, burdensome and harassing as the information can

  be sought from a party or other source without the need to seek information from

  this non-party witness. Responding Party objects to this topic to the extent it

  seeks information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary


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  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        29. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any


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  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

        30. Objection. Responding Party objects on the grounds this topic is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this topic is oppressive, burdensome and harassing as the information can be

  sought from a party or other source without the need to seek information from this

  non-party witness. Responding Party objects to this topic to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, information that is shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all




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  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

   Date: October 19, 2021                            /s/ Morgan E. Pietz
                                               Morgan E. Pietz (CA Bar #260629)*
                                               Pietz & Shahriari, LLP
                                               9454 Wilshire Blvd., Suite 310
                                               Beverly Hills, CA 90212
                                               Counsel for Terrier SSC, LLC

                                               Sean J. Bellew (#4072)
                                               Bellew LLC
                                               2961 Centerville Road, Suite 302
                                               Wilmington, Delaware 19808
                                               Telephone: (302) 353-4951
                                               sjbellew@bellewllc.com
                                               Counsel for Terrier SSC, LLC




  *Pro Hac Vice application is forthcoming.



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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE
                                           :
  GOOGLE LLC,                              :
                                           :
                       Plaintiff(s),       :
                                           :
         v.                                :
                                           :        C.A. No. 21-MC-419UNA
  TERRIER SSC, LLC,                        :
                                           :
                       Defendant(s).       :
                                           :
                                           :


         OBJECTION TO SUBPOENA TO PRODUCE DOCUMENTS,
      INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION OF
                    PREMISES IN CIVIL ACTION


        TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

        PLEASE TAKE NOTICE THAT non-party witness Terrier SSC, LLC

  (“Responding Party”), pursuant to Fed. R. Civ. P. 45(d)(B), hereby objects to the

  subpoena to produce documents, information, or objects or to permit inspection of

  premises in a civil action as follows:

                                GENERAL OBJECTIONS

        Responding Party makes the following General Objections to the Subpoena

  to Produce Documents, Information, or Objects or To Permit Inspection of

  Premises in a Civil Action, Request Nos. 1-28. These General Objections are

  incorporated into the specific objections to each Request. The assertion of the same



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  or additional objections to any individual Request does not waive other General

  Objections that are not repeated in the specific objections. The objections and

  responses set forth below are based on information currently available to

  Responding Party:

        1. Responding Party objects to each and every Request to the extent that it

  seeks information protected by the attorney-client privilege, attorney work product

  doctrine, joint defense agreement and/or taxpayer/tax return privilege.

        2. Responding Party further objects to each request to the extent it calls

  for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges.

        3. Responding Party objects to each request to the extent that it seeks

  production of documents that are neither relevant to the subject matter of this

  action nor reasonably calculated to lead to the discovery of admissible evidence.

        4. Responding Party objects to each request to the extent that the

  information sought can be obtained through party discovery or other sources



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  without the need to seek documents from non-party witness Responding Party.

  Google LLC (“Propounding Party”) failed to take reasonable steps to avoid

  imposing undue burden or expense on Responding Party in violation of Federal

  Rules of Civil Procedure, Rule 45(d)(1).

        5. Responding Party objects to each of Propounding Party’s definitions as

  overbroad, oppressive, unduly burdensome, unnecessarily expensive, and not

  proportional to the needs of the case, considering the importance of the issues at

  stake in the action, the amount in controversy, the parties’ relative access to

  relevant information, the importance of the discovery in resolving the issues, and

  whether the burden or expense of the proposed discovery outweighs its likely

  benefits. Responding Party further objects to the extent that any definition attempts

  to impose any obligations upon Responding Party greater than those authorized by

  the Federal Rules of Civil Procedure, Local Rules, or any other applicable law, and

  also as, vague, ambiguous, unclear, or unintelligible.

        6. Nothing herein is intended to waive the following objections, which are

  expressly reserved: All objections as to competency, relevancy, materiality and

  admissibility of the subject matter of the discovery requests; all objections as to

  vagueness, ambiguity, or undue burden; all objections on any ground as to the use

  of any information provided in response to these discovery requests; and all

  objections on any ground to any request for further responses to these or other



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  discovery requests.

        7. Responding Party does not waive any right to make and preserves any

  objections to the questions asked at deposition or to instruct a witness not to

  answer any question.

        8. Responding Party objects to the definition of “Responding Party Trust” to

  include the various different entities referenced in the definition. The only

  appropriate entity for anything related to WSOU is “Responding Party Trust,

  Series SPL-VI”

        9. Responding Party objects to Definitions 4 through 15, and 17, all of

  which seek to define various different entities in an overbroad

  fashion. Specifically, Responding Party objects to the part of the definition

  extends to include “any other persons acting on behalf of any of the foregoing, and

  any other entities that own or control or are owned or controlled by or share

  common ownership or control with any of the foregoing, as well as predecessors

  and successors in interest to such entities” for each entity, and to the part of the

  definition that extends to “affiliates” of the entity, a term which is itself defined in

  overbroad fashion at number 17.

        10. Responding Party objects to Definition 16 (“asserted patents”) as vague

  and overbroad, to the extent that it includes asserted patents beyond the particular

  patents specifically referenced.



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        11. Responding Party objects to Definitions 18 (“related application”), 19

  (“related patent”), 21 (“accused product”), and 22 (“asserted claim”) as vague and

  overbroad.

        12. Responding Party objects to Definition 33 (“Other WSOU Defendants”)

  as vague and overbroad, to the extent that it includes defendants other than those

  particular defendants specifically referenced.

        13. Responding Party objects to the “Instructions” to the extent they purport

  to request anything of a non-party that goes beyond what is required or allowed

  under Federal Rule of Civil Procedure 45.

        REQUESTS AND OBJECTIONS TO INDIVIDUAL REQUESTS

  REQUEST FOR PRODUCTION NO. 1:

            Documents concerning the formation of Terrier.

  RESPONSE TO REQUEST 1:

        Objection. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of



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  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to any party’s claim or defense, nor

  proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 2:

         Documents concerning your formation of OT WSOU Terrier Holdings,

  LLC.

  RESPONSE TO REQUEST 2:

         Objection. Responding Party objects on the grounds this request is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this request is oppressive, burdensome and harassing as the documents requested

  can be sought from a party or other source without the need to seek them from this

  non-party witness.Responding Party further objects to this request to the extent it

  seeks information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of



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  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 3:

        Documents concerning your corporate structure.

  RESPONSE TO REQUEST 3:

        Objection. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.


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  REQUEST FOR PRODUCTION NO. 4:

        Documents concerning your investments or interests in the asserted patents,

  including assignment, licensing, acquisition, financial interest, security interest,

  lien, sale, transfer of rights (in whole or in part) and any other disposition of or any

  offers to buy, sell, obtain rights to, or licenses any of the asserted patents.

  RESPONSE TO REQUEST 4:

            Objection. Responding Party objects on the grounds this request is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this request is oppressive, burdensome and harassing as the documents

  requested can be sought from a party or other source without the need to seek them

  from this non-party witness. Responding Party objects to this request to the extent

  it seeks information protected from disclosure by the attorney-client privilege

  and/or attorney work product doctrine. Responding Party further objects to the

  extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, documents that are shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further



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  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 5:

        Documents concerning discussions with BP Funding Trust regarding any

  asserted patent, a portfolio including an asserted patent, assignment of any interest

  in any asserted patent or a portfolio including an asserted patent, or the acquisition

  or potential acquisition of any portfolio that might have included an asserted

  patent.

  RESPONSE TO REQUEST 5:

        Objection. Responding Party objects on the grounds this request is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this request is oppressive, burdensome and harassing as the documents

  requested can be sought from a party or other source without the need to seek them

  from this non-party witness. Responding Party objects to this request to the extent

  it seeks information protected from disclosure by the attorney-client privilege

  and/or attorney work product doctrine. Responding Party further objects to the

  extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, documents that are shielded from production by statutory or


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  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 6:

        Agreements with BP Funding Trust concerning any potential or actual

  transaction regarding any asserted patent, a portfolio including an asserted patent,

  or the acquisition or potential acquisition of any portfolio that might have included

  an asserted patent.

  RESPONSE TO REQUEST 6:

        Objection. Responding Party objects on the grounds this request is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this request is oppressive, burdensome and harassing as the documents

  requested can be sought from a party or other source without the need to seek them

  from this non-party witness. Responding Party objects to this request to the extent

  it seeks information protected from disclosure by the attorney-client privilege

  and/or attorney work product doctrine. Responding Party further objects to the

  extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in



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  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, documents that are shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 7:

        Agreements with the named inventor(s) of any of the asserted patents,

  including assignment agreements, consulting agreements, employment agreements

  and any agreements pertaining to litigation involving the asserted patents or any

  related patents.

  RESPONSE TO REQUEST 7:

            Objection. Responding Party objects on the grounds this request is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this request is oppressive, burdensome and harassing as the documents

  requested can be sought from a party or other source without the need to seek them

  from this non-party witness. Responding Party objects to this request to the extent

  it seeks information protected from disclosure by the attorney-client privilege

  and/or attorney work product doctrine. Responding Party further objects to the



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  extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, documents that are shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 8:

        Compensation, cost-sharing, or profit sharing agreements with any of the

  named inventor(s) of the asserted patent(s).

  RESPONSE TO REQUEST 8:

        Objection. Responding Party objects on the grounds this request is

  vague, ambiguous and unintelligible as to the phrases/terms “Compensation, cost-

  sharing, or profit sharing agreements.” Responding Party objects further on the

  grounds this request is oppressive, burdensome and harassing as the documents

  requested can be sought from a party or other source without the need to seek them

  from this non-party witness. Responding Party objects to this request to the extent

  it seeks information protected from disclosure by the attorney-client privilege



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  and/or attorney work product doctrine. Responding Party further objects to the

  extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, documents that are shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 9:

        Documents regarding the assignment, licensing, acquisition, financial

  interest, security interest, lien, sale, transfer of rights (in whole or in part) and any

  other disposition of or any offers to buy, sell, obtain rights to, or licenses any of the

  asserted patents.

  RESPONSE TO REQUEST 9:

        Objection. Responding Party objects on the grounds this request is vague,

  ambiguous and unintelligible as to the phrases/terms “Compensation, cost-sharing,

  or profit sharing agreements.” Responding Party objects further on the grounds

  this request is oppressive, burdensome and harassing as the documents requested



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  can be sought from a party or other source without the need to seek them from this

  non-party witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 10:

        Documents concerning the nature and scope of any rights you had in the past

  or currently have in each of the asserted patents, related applications or related

  patents from the time each alleged invention was conceived through the present,

  including the right to control any portion of litigation, future royalties, payment for

  licenses, contingent rights, or payments depending on the outcome of litigation.




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  RESPONSE TO REQUEST 10:

         Objection. Responding Party objects on the grounds this request is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this request is oppressive, burdensome and harassing as the documents requested

  can be sought from a party or other source without the need to seek them from this

  non-party witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 11:

        Documents regarding agreements relating to each of the asserted patents (or

  any portfolio including any of the asserted patents), including assurances,



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  covenants not to sue and understandings not to assert any of the asserted patents

  against potential licensees.

  RESPONSE TO REQUEST 11:

        Objection. Responding Party objects on the grounds this request is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this request is oppressive, burdensome and harassing as the documents requested

  can be sought from a party or other source without the need to seek them from this

  non-party witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.




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  REQUEST FOR PRODUCTION NO. 12:

        Documents regarding agreements between you and WSOU, Allied Security

  Trust, AQUA Licensing, LLC, RPX Corporation, Fortress Credit Co., LLC,

  Houlihan, Orange Holdings, Wade and Company, Omega Credit Opportunities

  Master Fund, Terrier, Juniper Capital Partners, Coast Asset Management, or

  WCFT Cayman, regarding any asserted patent, a portfolio including an asserted

  patent, or the acquisition or potential acquisition of any portfolio that might have

  included an asserted patent, including any amendment, modification,

  supplementation, abrogation, or termination of any such agreements.

  RESPONSE TO REQUEST 12:

        Objection. Responding Party objects on the grounds this request is

  overly broad and unduly burdensome. Responding Party objects further on the

  grounds this request is oppressive, burdensome and harassing as the documents

  requested can be sought from a party or other source without the need to seek them

  from this non-party witness. Responding Party objects to this request to the extent

  it seeks information protected from disclosure by the attorney-client privilege

  and/or attorney work product doctrine. Responding Party further objects to the

  extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but



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  not limited to, documents that are shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 13:

        Documents regarding agreements with Nokia or other WSOU Defendants

  regarding an asserted patent or a portfolio including an asserted patent.

  RESPONSE TO REQUEST 13:

        Objection. Responding Party objects on the grounds this request is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this request is oppressive, burdensome and harassing as the documents requested

  can be sought from a party or other source without the need to seek them from this

  non-party witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited



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  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 14:

        Communications with Nokia, Allied Security Trust, AQUA, RPX

  Corporation, Fortress Credit Co., LLC, Houlihan, WSOU, Orange Holdings, Wade

  and Company, Omega Credit Opportunities Master Fund, Terrier, Juniper Capital

  Partners, Coast Asset Management, or WCFT Cayman regarding an asserted

  patent, a portfolio including an asserted patent, or actual or potential litigation

  relating to an asserted patent.

  RESPONSE TO REQUEST 14:

        Objection. Responding Party objects on the grounds this request is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this request is oppressive, burdensome and harassing as the documents requested

  can be sought from a party or other source without the need to seek them from this

  non-party witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or



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  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 15:

        Documents concerning communications with any of the named inventors

  regarding any of the asserted patents, this litigation or Google.

  RESPONSE TO REQUEST 15:

        Objection. Responding Party objects on the grounds this request is vague,

  ambiguous and unintelligible. Responding Party further objects on the grounds

  that this request overly broad and unduly burdensome. Responding Party objects

  on the grounds this request is oppressive, burdensome and harassing as the

  documents requested can be sought from a party or other source without the need

  to seek them from this non-party witness. Responding Party objects to this request



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  to the extent it seeks information protected from disclosure by the attorney-client

  privilege and/or attorney work product doctrine. Responding Party further objects

  to the extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, documents that are shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 16:

        Communications with WSOU regarding the asserted patent, related patents,

  this litigation or Google.

  RESPONSE TO REQUEST 16:

        Objection. Responding Party objects on the grounds this request is vague,

  ambiguous and unintelligible. Responding Party further objects on the grounds

  that this request overly broad and unduly burdensome. Responding Party objects

  on the grounds this request is oppressive, burdensome and harassing as the

  documents requested can be sought from a party or other source without the need



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  to seek them from this non-party witness. Responding Party objects to this request

  to the extent it seeks information protected from disclosure by the attorney-client

  privilege and/or attorney work product doctrine. Responding Party further objects

  to the extent it calls for the disclosure of non-public, private, personal, confidential,

  proprietary information, or trade secret information that has been maintained in

  confidence and/or is legally required to be maintained in confidence, including, but

  not limited to, documents that are shielded from production by statutory or

  decisional law of the United States and each of its jurisdictions, statutory or

  decisional law of any foreign country, the right of privacy under the United States

  Constitution, and all other applicable laws or privileges. Responding Party further

  objects to the extent it seeks information that is not relevant to the relevant to any

  party’s claim or defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 17:

        Documents concerning communications between you and any other entity

  relating to the possibility of patent litigation regarding the asserted patent and

  related patents, including any actual or potential patent litigation against Google

  and the WSOU v. Google Litigations.

  RESPONSE TO REQUEST 17:

        Objection. Responding Party objects on the grounds this request is overly

  broad and unduly burdensome. Responding Party objects further on the grounds



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  this request is oppressive, burdensome and harassing as the documents requested

  can be sought from a party or other source without the need to seek them from this

  non-party witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 18:

        Documents concerning the formation of WSOU.

  RESPONSE TO REQUEST 18:

        Objection. Responding Party objects on the grounds this request is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this request is oppressive, burdensome and harassing as the documents requested



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  can be sought from a party or other source without the need to seek them from this

  non-party witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 19:

        Documents concerning any contemplated acquisition of patents or rights in

  patents from Nokia.

  RESPONSE TO REQUEST 19:

        Objection. Responding Party objects on the grounds this request is

  oppressive, burdensome and harassing as the documents requested can be sought

  from a party or other source without the need to seek them from this non-party



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  witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 20:

        Documents sufficient to show any interests (current or prior) in WSOU.

  RESPONSE TO REQUEST 20:

        Objection. Responding Party objects on the grounds this request is

  oppressive, burdensome and harassing as the documents requested can be sought

  from a party or other source without the need to seek them from this non-party

  witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or



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  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 21:

        Documents sufficient to show any actual, contingent, or potential (1) right to

  license or sublicense any asserted patent, (2) right to control the licensing of any

  asserted patent, or (3) right to control or be involved in the resolution of any

  litigation involving any asserted patent.

  RESPONSE TO REQUEST 21:

        Objection. Responding Party objects on the grounds this request is

  oppressive, burdensome and harassing as the documents requested can be sought

  from a party or other source without the need to seek them from this non-party

  witness. Responding Party objects to this request to the extent it seeks



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  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 22:

        Documents sufficient to show your relationship with Stuart A. Shanus, Eric

  Schneider, Andrew Neuberger, Marc Wade, or Craig Etchegoyen, Orange

  Holdings, WSOU, Uniloc USA, Inc., WCFT Cayman, Omega Credit Opportunities

  Master Fund, Wade and Company, and Terrier, or any entity associated with the

  foregoing.

  RESPONSE TO ERQUEST 22:

        Objection. Responding Party objects on the grounds this request is




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  oppressive, burdensome and harassing as the documents requested can be sought

  from a party or other source without the need to seek them from this non-party

  witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 23

        Documents concerning the “Patent Security Agreement” recorded at USPTO

  Reel 09235 Frame 0068, signed May 16, 2019, the circumstances of this

  agreement, and any related agreements.




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  RESPONSE TO REQUEST 23:

        Objection. Responding Party objects on the grounds this request is

  oppressive, burdensome and harassing as the documents requested can be sought

  from a party or other source without the need to seek them from this non-party

  witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 24:

        Documents concerning the May 16, 2019 “Patent Security Agreement” and

  any related agreements, including the circumstances surrounding the recorded

  release of your security interest regarding the “Patent Security Agreement.”



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  RESPONSE TO REQUEST 24:

        Objection. Responding Party objects on the grounds this request is

  oppressive, burdensome and harassing as the documents requested can be sought

  from a party or other source without the need to seek them from this non-party

  witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 25:

        Documents concerning the release of your security interest, recorded June 3,

  2021, at USPTO Reel 056526 Frame 0093, the circumstances of this agreement,

  and any related agreements.



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  RESPONSE TO REQUEST 25:

        Objection. Responding Party objects on the grounds this request is

  oppressive, burdensome and harassing as the documents requested can be sought

  from a party or other source without the need to seek them from this non-party

  witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 26:

        Documents concerning the value of, any valuations of or attempts to value

  any asserted patent, related patent, or related application, whether individually or




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  in combination with any other patents or applications, including any portfolio

  containing any asserted patent or related patent.

  RESPONSE TO REQUEST 26:

        Objection. Responding Party objects on the grounds this request is

  oppressive, burdensome and harassing as the documents requested can be sought

  from a party or other source without the need to seek them from this non-party

  witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent

  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.




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  REQUEST FOR PRODUCTION NO. 27:

        Documents concerning any evaluation or analysis of any asserted patent, any

  related patent, or any related application, whether individually or in combination

  with any other patents or applications, including any evaluation or analysis of

  infringement, validity, or commercialization.

  RESPONSE TO REQUEST 27:

        Objection. Responding Party objects on the grounds this request is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this request is oppressive, burdensome and harassing as the documents requested

  can be sought from a party or other source without the need to seek them from this

  non-party witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent



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  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

  REQUEST FOR PRODUCTION NO. 28:

        Documents produced in response to a subpoena served by any other WSOU

  Defendant.

  RESPONSE TO REQUEST 28:

        Objection. Responding Party objects on the grounds this request is overly

  broad and unduly burdensome. Responding Party objects further on the grounds

  this request is oppressive, burdensome and harassing as the documents requested

  can be sought from a party or other source without the need to seek them from this

  non-party witness. Responding Party objects to this request to the extent it seeks

  information protected from disclosure by the attorney-client privilege and/or

  attorney work product doctrine. Responding Party further objects to the extent it

  calls for the disclosure of non-public, private, personal, confidential, proprietary

  information, or trade secret information that has been maintained in confidence

  and/or is legally required to be maintained in confidence, including, but not limited

  to, documents that are shielded from production by statutory or decisional law of

  the United States and each of its jurisdictions, statutory or decisional law of any

  foreign country, the right of privacy under the United States Constitution, and all

  other applicable laws or privileges. Responding Party further objects to the extent



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  it seeks information that is not relevant to the relevant to any party’s claim or

  defense, nor proportional to the needs of the case.

   Date: October 19, 2021                            /s/ Morgan E. Pietz
                                               Morgan E. Pietz (CA Bar #260629)*
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                                               9454 Wilshire Blvd., Suite 310
                                               Beverly Hills, CA 90212
                                               Counsel for Terrier SSC, LLC

                                               Sean J. Bellew (#4072)
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                                               Wilmington, Delaware 19808
                                               Telephone: (302) 353-4951
                                               sjbellew@bellewllc.com
                                               Counsel for Terrier SSC, LLC




  *Pro Hac Vice application is forthcoming.




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

                                               §    CIVIL ACTION 6:20-CV-00571-ADA
 WSOU INVESTMENTS, LLC d/b/a,                  §    CIVIL ACTION 6:20-CV-00572-ADA
 BRAZOS LICENSING AND                          §    CIVIL ACTION 6:20-CV-00573-ADA
 DEVELOPMENT                                   §    CIVIL ACTION 6:20-CV-00575-ADA
                                               §    CIVIL ACTION 6:20-CV-00576-ADA
        Plaintiff,                             §    CIVIL ACTION 6:20-CV-00579-ADA
 v.                                            §    CIVIL ACTION 6:20-CV-00580-ADA
                                               §    CIVIL ACTION 6:20-CV-00583-ADA
 GOOGLE LLC,                                   §    CIVIL ACTION 6:20-CV-00584-ADA
                                               §    CIVIL ACTION 6:20-CV-00585-ADA
        Defendant.                             §
                                               §         JURY TRIAL DEMANDED


            ORDER GRANTING PLAINTIFF’S MOTION FOR PROTECTIVE
               ORDER REQURING WITHDRAWAL OF SUBPOENAS
              AGAINST NONPARTIES BP FUNDING AND TERRIER SSC

        This Court, having considered Plaintiff’s Motion for Protective Order Requiring

 Withdrawal of Subpoenas Against Nonparties BP Funding and Terrier SSC (the “Motion”), hereby

 ORDERS the following:

        The Motion is GRANTED. Defendant Google LLC is hereby ORDERED to withdraw its

 subpoenas to BP Funding and Terrier SSC, as well as its motions to compel against those entities

 in the following civil actions: Google, LLC v. Terrier SSC, LLC, C.A. No. 21-mc-419-MN (D.

 Del.) and Google, LLC v. BP Funding Trust, C.A. No. 21-mc-440-MN (D. Del.).



        SIGNED this _____ day of October 2021.

                                                    ____________________________________
                                                    HONORABLE ALAN D ALBRIGHT
                                                    UNITED STATES DISTRICT JUDGE
